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        steve.jensen@knobbe.com
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        sheila.swaroop@knobbe.com
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        brian.claassen@knobbe.com
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   10   Daniel P. Hughes (Bar No. 299695)        Mark D. Kachner (Bar No. 234192)
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   14   Attorneys for Plaintiffs,
        MASIMO CORPORATION and CERCACOR LABORATORIES, INC.
   15
                       IN THE UNITED STATES DISTRICT COURT
   16                FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                SOUTHERN DIVISION
   17
        MASIMO CORPORATION, a                   ) Case No. 8:20-cv-00048-JVS-JDE
   18   Delaware corporation; and               )
        CERCACOR LABORATORIES,                  ) DECLARATION OF KENDALL
   19   INC., a Delaware corporation            ) LOEBBAKA IN SUPPORT OF
                                                ) PLAINTIFFS’ MOTION FOR A
   20                  Plaintiffs,              ) PROTECTIVE ORDER
                                                ) PRECLUDING DEFENDANT
   21           v.                              ) FROM DISCLOSING PLAINTIFFS’
                                                ) CONFIDENTIAL MATERIALS TO
   22   APPLE INC., a California corporation    ) DR. PATRICK MERCIER
                                                )
   23                  Defendant.               )
                                                ) Discovery Cutoff: 7/15/2024
   24                                           ) Pre-Trial Conf.:   10/28/2024
                                                ) Trial:             11/05/2024
   25                                           )
                                                ) Judge: Magistrate John D. Early
   26                                           )
   27

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    1         I, Kendall Loebbaka, hereby declare as follows:
    2         1.     I am a partner in the law firm Knobbe, Martens, Olson & Bear, LLP,
    3   counsel for Plaintiffs Masimo Corporation and Cercacor Laboratories, Inc.
    4   (collectively, “Masimo”) in this action. I have personal knowledge of the matters
    5   set forth in this declaration and, if called upon as a witness, would testify
    6   competently thereto. I submit this Declaration in Support of Plaintiffs’ Motion
    7   for a Protective Order Precluding Defendant from Disclosing Plaintiffs’
    8   Confidential Materials to Defendant’s Proposed Expert, Dr. Patrick Mercier (the
    9   “Motion”).
   10         2.     Pursuant to Local Rule 37-1, my partner, Jared Bunker, met and
   11   conferred with counsel of record for Apple regarding Masimo’s confidential
   12   information. The conference took place on June 21, 2024. The parties were
   13   unable to resolve the disputes that are the subject of Masimo’s Motion.
   14         3.     Attached hereto as Exhibit A is a true and correct copy of
   15   Dr. Mercier’s curriculum vitae provided by counsel of record for Apple.
   16         4.     Attached hereto as Exhibit B is a true and correct copy of a Center
   17   for        Wearable         Sensors           Brochure,       available         at
   18   http://wearablesensors.ucsd.edu/partner (last accessed June 25, 2024).
   19         5.     Attached hereto as Exhibit C is a true and correct copy of an email
   20   chain between Nora Passamaneck and Sarah Frazier, counsel of record for Apple,
   21   and Mr. Bunker, counsel for Masimo, dated June 12 through June 21, 2024.
   22         6.     Attached hereto as Exhibit D is a true and correct copy of an
   23   executed declaration of Eugene Goldberg, President, Consumer Health, at
   24   Masimo.
   25         7.     Attached hereto as Exhibit E is a true and correct copy of a printout
   26   of     Center      for      Wearable          Sensors—About      the      Center,
   27   http://wearablesensors.ucsd.edu/about (last accessed June 25, 2024).
   28


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                                  #:170302



    1         8.    Attached hereto as Exhibit F is a true and correct copy of a printout
    2   of          Center           for            Wearable          Sensors—Research,
    3   http://wearablesensors.ucsd.edu/research (last accessed June 25, 2024).
    4         9.    Attached hereto as Exhibit G is a true and correct copy of a printout
    5   of NeuroVigil—About Us, https://www.neurovigil.com/index.php/about-us (last
    6   accessed June 25, 2024).
    7         10.   Attached hereto as Exhibit H is a true and correct copy of a printout
    8   of                                 Masimo                               SedLine®,
    9   https://professional.masimo.com/products/continuous/root/root-sedline/         (last
   10   accessed June 25, 2024).
   11         11.   Attached hereto as Exhibit I is a true and correct copy of Voice
   12   Domain Techs., LLC v. Apple, Inc., No. 4:13-cv-40138-TSH, Dkt. 45 (D. Mass.
   13   July 17, 2014).
   14

   15         I declare under the penalty of perjury that the foregoing is true and correct.
   16   Executed on June 27, 2024, at Irvine, California.
   17

   18
                                               /Kendall Loebbaka
                                             Kendall Loebbaka
   19

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                                  #:170303




                     EXHIBIT A
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                                  #:170304




      Patrick P. Mercier
      Professor, Electrical and Computer Engineering
      Co-Director, Center for Wearable Sensors
      Site Director, Power Management Integration Center
      University of California, San Diego
      9500 Gilman Drive, 0407
      La Jolla, CA 92093

      Phone: +1-858-534-6026
      Email: pmercier@ucsd.edu
      Web: http://efficiency.ucsd.edu | http://cws.ucsd.edu | https://pmic.engineering.dartmouth.edu/

      Professional Highlights ______________________________________________________________

      •   Currently leading a ~20-person group undertaking high-impact research spanning multiple
          domains, from near-zero-power integrated circuits, power management, energy harvesting,
          neural interfaces, wearable physiochemical sensors, RFICs and RF systems, and beyond
      •   Over 200 peer-reviewed publications, including 26 ISSCC papers, 33 JSSC papers, and
          several papers in high-impact journals such as Science, Nature Biotechnology, Nature
          Biomedical Engineering, Nature Electronics, Nature Communications, Advanced Science,
          Energy and Environmental Science, and more
      •   Recognized as one of the top contributors of all time at the 2023 IEEE International Solid-
          State Circuits Conference (ISSCC)
      •   Co-founder and co-director of the successfully industry-supported UCSD Center for
          Wearable Sensors
      •   Site Director of the successfully industry/NSF-supported IUCRC Power Management
          Integration Center, partnered with Dartmouth College
      •   Multiple young investigator awards: DARPA YFA, NSF CAREER, Beckman YIA
      •   ISSCC Jack Kilby Award for Outstanding Student Paper
      •   Over $37MM in research fundraising to date
      •   UCSD-wide Academic Senate Teaching Award
      •   ISSCC Executive Committee member; former ISSCC, VLSI, and CICC TPC member
      •   Startup co-founder (Traq), board member (QuantalRF), and scientific advisory board
          member (Nanovision and NeuroVigil)
      •   20 issued US patents

      Education __________________________________________________________________________

            Ph.D.    Massachusetts Institute of Technology, Electrical Engineering, June 2012
                        Thesis title: Communication and Power Delivery Architectures for Personal
                        Medical Devices (GPA: 5.0/5.0)
                        Advisor: Anantha P. Chandrakasan
            S.M.     Massachusetts Institute of Technology, Electrical Engineering, June 2008




                                                                                                        Exhibit A
                                                                                                             -3 -
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                                  #:170305
                       Thesis title: An All-Digital Transmitter for Pulsed Ultra-Wideband
                       Communication (GPA: 5.0/5.0)
                       Advisor: Anantha P. Chandrakasan
         B.Sc.    University of Alberta, Electrical and Computer Engineering, May 2006
                       GPA: 4.0/4.0

   Related Experience __________________________________________________________________

        University of California, San Diego
        Professor, Electrical and Computer Engineering (2023-present)
        Site Director, Power Management Integration Center (2021-present)
        Associate Professor, Electrical and Computer Engineering (2018-2023)
        Co-Founder/Co-Director, Center for Wearable Sensors (2014-present)
        Assistant Professor, Electrical and Computer Engineering (2012-2018)

        Expert Witness
        Providing expert technical advice and reports on a variety of patent litigation cases (2020-present)

        NeuroVigil
        Scientific Advisory Board Member (2020-present)

        Nanovision
        Scientific Advisory Board Member (2019-present)

        Quantal RF
        Board Member (2018-2024)

        Traq / Mouthsense Inc.
        Co-Founder/Scientific Advisor (2016-present)

        Mercier Engineering
        Owner, providing engineering and technical expertise to start-up companies and defense contractors.
        (2013-present)

        Massachusetts Institute of Technology, Microsystems Technology Laboratory, Research Assistant
        (2006-2012)

        Intel Corporation, Circuits Research Lab, Graduate Technical Intern (2008)



   Selected Honors and Awards _________________________________________________________

      § Teacher of the Year Award – Jacobs School of Engineering at UC San Diego Annual Best
        Teacher Award Selected by Ballot of the Students – 2023
      § IEEE International Solid-State Circuits Conference (ISSCC) Author-Recognition Award –
        Awarded to authors who have contributed more than 20 papers to ISSCC – 2023
      § San Diego County Engineering Council Outstanding Engineer Award – Awarded annually to
        a single local engineer who has made significant technical contributions to their society – 2020




   Curriculum Vitae                                     2                                     Patrick P. Mercier

                                                                                                        Exhibit A
                                                                                                             -4 -
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                                  #:170306
      § National Academy of Engineering Frontiers of Engineering Speaker – A competitive
        invitation-only event for those who have demonstrated accomplishment in engineering research
        and technical work with recognizable contributions to advancing the frontiers of engineering –
        2019
      § IEEE Solid-State Circuits Society Distinguished Lecturer – Nominated to deliver invited
        lecturers at local chapters and regional meetings across the world for a two-year term – 2019
      § NSF CAREER Award – The National Science Foundation’s most prestigious awards in support
        of early-career faculty – 2018
      § Biocom Catalyst Award – Awarded to ten academics, entrepreneurs, investors, corporate
        leaders, and business advisers under 40 years old who are igniting innovation and growth in the
        San Diego and Los Angeles life sciences industry – 2017
      § IEEE Senior Member – Elected for showing significant performance over a 10+ year career –
        2017
      § Moore Inventor Fellow Finalist – Selected as a top-10 fellow amongst >200 other applicants at
        top US universities; received $25k award – 2017
      § UCSD Academic Senate Distinguished Teaching Award – Awarded yearly to five
        distinguished teachers across all departments at UCSD (totaling ~2200 senate members – i.e., the
        top 0.2% of teachers). First winner in the ECE department since Jack Wolf in 1999. Received
        2016
      § DARPA Young Faculty Award – Awarded to young faculty members who propose high-impact,
        high-risk research programs – 2015
      § Beckman Young Investigator Award – Awarded to eight junior faculty members across the US
        for innovating research within the chemical and biological sciences – 2015
      § Hellman Fellowship Award – Awarded to junior faculty members who show capacity for great
        distinction in their research and creative activities – 2014
      § Graduate Teaching Award – Awarded annually to one (of ~50) faculty in the UCSD ECE
        department for outstanding teaching and service – 2013
      § Jack Kilby Award – One awarded per year for outstanding student paper at the International Solid-
        State Circuits Conference (ISSCC) – received 2010
      § Intel Foundation Ph.D. Fellowship – awarded to 26 applicants across the US – 2009
      § Post Graduate Scholarship – Natural Sciences and Engineering Council of Canada (NSERC) –
        2007, 2009
      § Best Presentation Award, Microsystems Technology Lab Annual Research Conference – 2008,
        2010
      § Julie Payette Postgraduate Research Fellowship – Awarded to the top 24 Master’s NSERC
        applicants in Canada – 2006
      § APEGGA Medal – Highest undergraduate GPA in Electrical Engineering – 2006
      § Atco Electric Centennial Award – March 2005
      § Schlumberger Scholarship in Electrical Engineering – 2004, 2005



   Other Awards and Recognitions ______________________________________________________

      § IEEE Solid-State Circuits Society (SSCS) Outstanding Reviewer Reward – 2024.
      § IEEE ISCAS Women in Circuits and Systems (WiCAS) – Runner Up Paper Award – 2023.




   Curriculum Vitae                                   3                                    Patrick P. Mercier

                                                                                                     Exhibit A
                                                                                                          -5 -
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                                  #:170307
      § IEEE International Symposium on Circuits and Systems (ISCAS) – Best Runner Up Paper –
        2023.
      § Qualcomm Innovation Fellowship (QIF) 2023 – Winner
      § IEEE Applied Power Electronics Conference (APEC) – Outstanding Presentation Award 2023
        – “A Series/Parallel Magnetic-Less Step-Down Converter Based on Piezoelectric Resonators”
      § IEEE Brain Technical Community and IEEE Solid-State Circuits Society – Brain-Related Best
        Paper Award 2021 – “An Optically-Addressed Nanowire-Based Retinal Prosthesis with 73% RF-
        to-Stimulation Power Efficiency and 20nC-to-3^C Wireless Charge Telemetering" presented at
        ISSCC 2021.
      § IEEE Symposium on Very Large Scale Integration (VLSI Symposium) 2020 – Best Student
        Paper Award Nominee – “A -105dB THD 87dB-SNDR VCO-based Sensor Front-end Enabled by
        Background-Calibrated Differential Pulse Code Modulation”
      § IEEE Symposium on Very Large Scale Integration (VLSI Symposium) 2020 – Best Student
        Paper Award Nominee – “A 4.4µW -92/-90.3dBm Sensitivity Dual-mode BLE/Wi-Fi Wake-up
        Receiver”
      § Qualcomm Innovation Fellowship (QIF) 2020 – Winner
      § IEEE EMBS Workshop on Brain, Mind and Body – Cognitive Neuroengineering for Health
        and Wellness 2019 – Third place poster award
      § IEEE Custom Integrated Circuits Conference (CICC) 2019 – Outstanding Student Paper Award
        Nominee
      § IEEE Custom Integrated Circuits Conference (CICC) 2018 – Outstanding Student Paper Award
        Nominee
      § IEEE Custom Integrated Circuits Conference (CICC) 2015 – Outstanding Student Paper Award
        Nominee
      § Qualcomm Innovation Fellowship (QIF) 2014 – Finalist



   List of Publications __________________________________________________________________

           BOOKS

     [1]    S. Ha, C. Kim, P.P. Mercier, G.C. Cauwenberghs, High-Density Integrated Electrocortical
            Neural Interfaces, Elsevier Academic Press, 2019, 187 pages.
     [2]    M.M. Hella and P.P. Mercier (eds), Power Management Integrated Circuits, CRC Press,
            2016, 329 pages.
     [3]    P.P. Mercier and A.P. Chandrakasan (eds), Ultra-low-power Short-Range Radios, Springer,
            2015, 394 pages.


           BOOK CHAPTERS

     [1]    F. Laiwalla, V.W. Leung, J. Lee, P. Mercier, P. Asbeck, R. Rao, L. Larson, A. Nurmikko, “Next
            Generation Microscale Wireless Implant System for High-Density, Multi-areal, Closed-Loop
            Brain Computer Interfaces,” in Brain-Computer Interface Research, C. Guger et al. (eds.),
            Springer Nature Switzerland, 2021.




   Curriculum Vitae                                   4                                   Patrick P. Mercier

                                                                                                    Exhibit A
                                                                                                         -6 -
Case 8:20-cv-00048-JVS-JDE Document 1987-3 Filed 06/30/24 Page 9 of 108 Page ID
                                  #:170308
     [2]    S. Ha, C. Kim, H. Wang, Y.M. Chi, P.P. Mercier, G. Cauwenberghs, “Low-power integrated
            circuits for wearable electrophysiology,” in Wearable Sensors – Fundamentals,
            Implementation and Applications 2nd Edition, E. Sazonov, Ed., Academic Press, 2021.
     [3]    L.G. Salem and P.P. Mercier, “Recursive Switched-Capacitor DC-DC Converters,” in Power
            Management Integrated Circuits, M.M. Hella and P.P. Mercier, Eds., CRC Press, 2016.
     [4]    D. Lee and P.P. Mercier, “Introduction to Ultra Low Power Transceiver Design,” in Ultra-low-
            power Short-Range Radios, P.P. Mercier and A.P. Chandrakasan, Eds., Cham, Switzerland:
            Springer, 2015.
     [5]    P.M. Nadeau, A. Paidimarri, P.P. Mercier, and A.P. Chandrakasan, “Architectures for Ultra-Low-
            Power Multi-Channel Resonator-Based Wireless Transceivers,” in Ultra-low-power Short-
            Range Radios, P.P. Mercier and A.P. Chandrakasan, Eds., Cham, Switzerland: Springer, 2015.
     [6]    P.P. Mercier, D.C. Daly, F.S. Lee, D.D. Wentzloff, and A.P. Chandrakasan, “Pulsed Ultra-
            Wideband Transceivers,” in Ultra-low-power Short-Range Radios, P.P. Mercier and A.P.
            Chandrakasan, Eds., Cham, Switzerland: Springer, 2015.
     [7]    P.P. Mercier and A.P. Chandrakasan, “Near-Field Wireless Power Transfer,” in Ultra-low-
            power Short-Range Radios, P.P. Mercier and A.P. Chandrakasan, Eds., Cham, Switzerland:
            Springer, 2015.


           JOURNAL PAPERS

     [1]    G. Pillonnet, P. Mercier, “Analytical Benchmarking of Direct Hybrid Switched-Capacitor DC-
            DC Converters,” IEEE Open Journal of Power Electronics, 2024.
     [2]    D. Valencia, P.P. Mercier, A. Alimohammad, “An Efficient Brain-Switch for Asynchronous
            Brain-Computer Interfaces,” IEEE Transactions on Biomedical Circuits and Systems, 2024.
     [3]    N.S.K. Fathy, R. Vatsyayan, A.M. Bourhis, S.A. Dayeh, P.P. Mercier, “A 0.00179 mm2/Ch
            Chopper-Stabilized TDMA Neural Recording System with Dynamic EOV Cancellation and
            Predictive Mixed-Signal Impedance Boosting,” IEEE Transactions on Biomedical Circuits and
            Systems, 2024.
     [4]    J. Wu, A. Akinin, J. Somayajulu, M.S. Lee, A. Paul, H. Lu, Y. Park, S.-J. Kim, P.P. Mercier, G.
            Cauwenberghs, “A Low-Noise Low-Power 0.001Hz-1kHz Neural Recording System-on-Chip
            with Sample-Level Duty-Cycling,” IEEE Transactions on Biomedical Circuits and Systems, vol.
            18, no. 2, pp. 263-273, Apr. 2024.
     [5]    E.H. Shinn, A.S. Garden, S.K. Peterson, D.J. Leupi, M. Chen, R. Blau, L. Becerra, T. Rafeedi,
            J. Ramirez, D. Rodriquez, F. VanFossen, S. Zehner, P.P. Mercier, J. Wang, K. Hutcheson, E.
            Hanna, D.J. Lipomi, “Iterative Patient Testing of a Stimuli-Responsive Swallowing Activity
            Sensor to Promote Extended User Engagement During the First Year After Radiation:
            Multiphase Remote and In-Person Observational Cohort Study”, JMIR Cancer, 2024.
     [6]    D. Valencia, P.P. Mercier, A. Alimohammad, “Efficient In Vivo Neural Signal Compression
            Using an Autoencoder-based Neural Network,” IEEE Transactions on Biomedical Circuits and
            Systems, 2024.
     [7]    H. Lu, H.R. Kooshkaki, P.P. Mercier, “A Mixer-First Receiver with On-Demand Passive
            Harmonic Rejection,” IEEE Solid-State Circuits Letters, vol. 7, pp. 46-49, Jan. 2024.
     [8]    S.-H. Kuo, M. Dunna, D. Bharadia, P.P. Mercier, “A WiFi and Bluetooth Low Energy
            Backscatter Combo Chip with Beam Steering Capabilities,” IEEE Open Journal of the Solid-
            State Circuits Society, vol. 3, pp. 239-248, Sep. 2023.




   Curriculum Vitae                                     5                                    Patrick P. Mercier

                                                                                                       Exhibit A
                                                                                                            -7 -
Case 8:20-cv-00048-JVS-JDE Document 1987-3 Filed 06/30/24 Page 10 of 108 Page ID
                                  #:170309
     [9]  Y. Xu, E. De la Paz, A. Paul, K. Mahato, J.R. Sempionatto, N. Tostado, M. Lee, G. Hota, M.
          Lin, A. Uppal, W. Chen, S. Dua, L. Yin, B.L. Wuerstle, S. Deiss, P. Mercier, S. Xu, J. Wang,
          G. Cauwenberghs, “In-ear integrated sensor array for the continuous monitoring of brain activity
          and of lactate in sweat,” Nature Biomedical Engineering, Sep. 2023.
     [10] M. Meng, M. Dunna, S.-K. Kuo, P.-H.P. Wang, D. Bharadia, P.P. Mercier, “A Fully-Reflective
          WiFi-Compatible Backscatter Communication System with Retro-Reflective MIMO Gain for
          Improved Range,” IEEE Journal of Solid-State Circuits, vol. 58, no. 9, pp. 2501-2512, Sep.
          2023.
     [11] S.-K. Kuo, M. Dunna, H. Lu, A. Agarwal, D. Bharadia, P.P. Mercier, “LTE-Powered BLE-to-
          WiFi Backscattering Chip Toward Single-Device Interrogation RFID-Like Systems,” IEEE
          Solid-State Circuits Letters, vol. 6, no. 8, pp. 225-228, Aug. 2023.
     [12] W.-C. Liu, C.-H. Cheng, P.P. Mercier, C.C. Mi, “Small Signal Analysis and Design of Constant
          On-Time Controlled Buck Converters with Duty-Cycle-Independent Quality Factors,” IEEE
          Transactions on Power Electronics, vol. 38, no. 7, pp. 8379-8393, Jul. 2023.
     [13] E. Wen, D.F. Sievenpiper, P.P. Mercier, “Analysis of Coil Coupling in the Near-Field Far-Field
          Hybrid Region,” IEEE Antennas and Wireless Propagation, vol. 22, no. 7, pp. 1771-1775, Jul.
          2023.
     [14] C.B. Gungor, P.P. Mercier, H. Toreyin, “A 2.2 nW Analog Electrocardiogram Processor based
          on Stochastic Resonance Achieving a 99.94% QRS Complex Detection Sensitivity,” IEEE
          Transactions on Biomedical Circuits and Systems, 2023.
     [15] H.A. Zadeh, H.R. Kooshkaki, K.-Y. Lee, P.P. Mercier, “An Adaptive Constant-On-Time-
          Controlled Hybrid Multilevel DC-DC Converter Operating from Li-ion Battery Voltages with
          Low Spurious Output,” IEEE Transactions on Power Electronics, vol. 38, no. 5, pp. 5763-5776,
          May 2023.
     [16] A. Nikoofard, H. Givehchian, N. Bhaskar, A. Schulman, D. Bharadia, P.P. Mercier, “Protecting
          Bluetooth User Privacy through Obfuscation of Carrier Frequency Offset,” IEEE Transactions
          on Circuits and Systems II, vol. 70, no. 2, pp. 541-545, Feb. 2023.
     [17] D. Valencia, G. Leone, N. Keller, P.P. Mercier, A. Alimohammad, “Power-Efficient In Vivo
          Brain-Machine Interfaces via Brain-State Estimation,” Journal of Neural Engineering, 20,
          016032, Jan. 2023.
     [18] B. Polat, T. Rafeedi, L. Becerra, A.X. Chen, K. Chiang, V. Kaipu, R. Blau, P.P. Mercier, C.-K.
          Cheng, D.J. Lipomi, “External Measurement of Swallowed Volume During Exerise Enabled by
          Stretchable Derivatives of PEDOT:PSS, Graphene, Metallic Nanoparticles, and Machine
          Learning,” Advanced Sensor Research, 2200060, Jan. 2023.
     [19] B.H. Lam, H. Lu, A.G. Gadelkarim, N. Fathy, P. Gudem, P.P. Mercier, “A 0.11mW 2.4GHz
          Receiver Employing a Q-Boosted Impedance Transformer and Regenerative Amplifier
          Achieving a -101dBm Sensitivity and -28dB SIR,” IEEE Solid-State Circuits Letters, vol. 6, Jan.
          2023.
     [20] H.R. Kooshkaki, P.P. Mercier, “A 36 uW 2.8–3.4 dB Noise Figure Impedance Boosted and
          Noise Attenuated LNA for NB-IoT,” IEEE Transactions on Circuits and Systems I, vol. 70, no.
          1, pp. 101-113, Jan. 2023.
     [21] E. De La Paz, N.H. Maganti, A. Trifonov, I. Jeerapan, K. Mahato, L. Yin, T. Sonsa-ard, N. Ma,
          W. Jung, R. Burns, A. Zarrinpar, J. Wang, P.P. Mercier, “A self-powered ingestible wireless
          biosensing system for real-time in situ monitoring of gastrointestinal tract metabolites,” Nature
          Communications, vol. 13, 7405, Dec. 2022.




   Curriculum Vitae                                    6                                     Patrick P. Mercier

                                                                                                       Exhibit A
                                                                                                            -8 -
Case 8:20-cv-00048-JVS-JDE Document 1987-3 Filed 06/30/24 Page 11 of 108 Page ID
                                  #:170310
     [22] P.P. Mercier, B.H. Calhoun, P.-H.P. Wang, A. Dissanayake, L. Zhang, D.A. Hall, S.M. Bowers,
          “Low-Power RF Wake-Up Receivers: Analysis, Trade-Offs, and Design,” IEEE Open Journal
          of the Solid-State Circuits Society, vol. 2, pp. 144-164, 2022.
     [23] D. Valencia, P.P. Mercier, A. Alimohammad, “In Vivo Neural Spike Detection with Adaptive
          Noise Estimation,” Journal of Neural Engineering, 19, 046018, Jul. 2022.
     [24] B.H. Lam, P. Gudem, P.P. Mercier, “Analysis and Measurement of Noise Suppression in
          Nonlinear Regenerative Amplifier,” IEEE Transactions on Circuits and Systems I, vol. 69, no.
          10, pp. 4117-4127, Oct. 2022.
     [25] S. Chamanian, P.P. Mercier, “MIPSIMO: A Multi-Input Piezo-Adaptive Single-Inductor Multi-
          Output Energy Harvester Achieving using a Shared Inductor with an Integrated Analog
          Computer Achieving 95% MPPT Efficiency,” IEEE Solid-State Circuits Letters, vol. 5, pp. 222-
          225, Sep. 2022.
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                                                                                                      Exhibit A
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                                                                                                        Exhibit A
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                                                                                                    Exhibit A
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              Biosensors,” U.S. Patent 10,722,160, Jul. 28, 2020.
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              Frequency Powered Adiabatic Stimulation with Energy Replenishment,” U.S. Patent
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              control methods,” U.S. Patent 10,374,511, Aug. 6, 2019.
     [15]     L.G. Salem, P.P. Mercier, “Multi-level adiabatic charging methods, devices and systems,” U.S.
              Patent 10,348,300, Jul. 9, 2019.
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              Amplifier,” U.S. Patent 10,333,477, Jun. 25, 2019.
     [17]     L.G. Salem, P.P. Mercier, “Successive approximation digital voltage regulation methods,
              devices and systems,” U.S. Patent 10,224,944, Mar. 5, 2019.
     [18]     C.-K. Cheng, P.P. Mercier, S.-H. Weng, “Electrical wearable capacitive biosensor and noise
              artifact suppression method,” U.S. Patent 10,729,379, Sep. 8, 2016.
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              Extraction,” U.S. Patent 9,369,005, Jun. 14, 2016.
     [20]     P.P. Mercier and A.P. Chandrakasan, “Multi-Taped Inductively-Coupled Charging System,”
              U.S. Patent 9,293,942, Mar. 22, 2016.


   Teaching Experience ________________________________________________________________

            University of California, San Diego                                                 La Jolla, CA
           Instructor




   Curriculum Vitae                                      25                                   Patrick P. Mercier

                                                                                                        Exhibit A
                                                                                                            -27 -
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                                  #:170329
        Spring 2020: ECE 165 – Digital Integrated Circuits (92% instructor rating – even during fully
        virtual instruction due to COVID-19)
        Fall 2019: ECE 203 – Biomedical Integrated Circuits and Systems (94% instructor rating – TA won
        the best ECE TA Award)
        Spring 2019: ECE 165 – Digital Integrated Circuits (96% course rating)
        Fall 2018: ECE 203 – Biomedical Integrated Circuits and Systems (95% instructor rating)
        Winter 2018: ECE 165 – Digital Integrated Circuits (100% instructor rating)
        Winter 2018: ECE 203 – Biomedical Integrated Circuits and Systems (91% instructor rating)
        Spring 2017: ECE 165 – Digital Integrated Circuits (100% instructor rating)
        Spring 2017: ECE 203 – Biomedical Integrated Circuits and Systems (93% instructor rating)
        Fall 2016: ECE260A - VLSI Digital System Algorithms and Architectures (93% instructor rating)
        Spring 2015: ECE 165 – Digital Integrated Circuits (100% instructor & course rating from an 82
        student class – ECE dept. record)
        Winter 2015: ECE 203 – Biomedical Integrated Circuits and Systems (93% instructor rating)
        Fall 2014: ECE260A - VLSI Digital System Algorithms and Architectures (87% instructor rating)
        Spring 2014: ECE 165 – Digital Integrated Circuits (100% instructor & course rating from a 77
        student class – ECE dept. record)
        Winter 2014: ECE 203 – Biomedical Integrated Circuits and Systems (98% instructor rating)
        Spring 2013: ECE 283 – Biomedical Integrated Circuits and Systems (99% instructor rating)
        Winter 2013: ECE 165 – Digital Integrated Circuits (94% instructor rating)

         Massachusetts Institute of Technology                                         Cambridge, MA
        Teaching Assistant
        Spring 2010: MIT EECS Course 6.776 – High Speed Communication Circuits.




   Curriculum Vitae                                 26                                  Patrick P. Mercier

                                                                                                  Exhibit A
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                                  #:170330

    Funding ____________________________________________________________________________

    Energy-Efficient Microsystems Lab

    As PI of the Energy-Efficient Microsystems Lab, I have raised over $34MM for research at
    UCSD from the following sources:

        •   DARPA
        •   NIH
        •   NSF
        •   The Arnold and Mabel Beckman Foundation
        •   Semiconductor Research Corporation
        •   ONR
        •   Army Research Lab
        •   KETI
        •   NextFlex
        •   The Fetzer Franklin Fund
        •   The Hellman Foundation
        •   Samsung
        •   Qualcomm
        •   Dockon Inc.
        •   Mouthsense Inc.
        •   Peregrine Semiconductor
        •   IMA Life North America
        •   Moore Foundation
        •   University of California Multi-Campus Research Programs and Initiatives
        •   California Energy Commission
        •   The UCSD Center for Brain Activity Mapping
        •   The UCSD Center for Wireless Communications (corporate sponsored)
        •   The UCSD Center for Wearable Sensors (corporate sponsored)
        •   The Power Management Integration Center (corporate sponsored)

    UC San Diego Center for Wearable Sensors

    As co-director of the Center for Wearable Sensors, I have been instrumental in fundraising over
    $7MM from corporate partners, with the bulk of this funding used to support collaborative




    Curriculum Vitae                               27                                 Patrick P. Mercier

                                                                                                Exhibit A
                                                                                                    -29 -
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                                  #:170331
    efforts across six engineering departments, the School of Medicine, and the Department of
    Visual Arts.

    Power Management Integration Center

    As Site Director of the Power Management Integration Center, I have help recruit corporate
    members to support research at both UCSD and at Dartmouth College.


    Service _____________________________________________________________________________

         Journal service

             o   Guest Editor – IEEE Open Journal of the Solid-State Circuits Society (OJ-SSCS)
                 Special Issue on Low-Power RF Circuits and Systems (2023)
             o   Guest Editor – IEEE Journal of Solid-State Circuits Special Issue on the 2018
                 International Solid-State Circuits Conference (ISSCC) (2018)
             o   Associate Editor – IEEE Solid-State Circuits Letters (2017-2023)
             o   Associate Editor – IEEE Transactions on Biomedical Circuits & Systems (2013-2023)
             o   Associated Editor – IEEE Transactions on VLSI (2015-2017)
             o   Guest Editor – IEEE TBioCAS Special Issue on the 2014 International Solid-State
                 Circuits Conference (ISSCC) (December, 2014)
             o   Guest Editor – IEEE TBioCAS Special Issue on the 2013 International Solid-State
                 Circuits Conference (ISSCC) (December, 2013)
         Conference service
            o Executive Committee member – Demo Chair – IEEE International Solid-State
                Circuits Conference (ISSCC) (2022-present)
            o Technical Program co-Chair – IEEE Sensor Interfaces Meeting (2022-present)
            o Subcommittee Chair – Power Management – IEEE Custom Integrated Circuits
                Conference (CICC) (2021-2023)
            o Technical Program Committee member – IEEE VLSI Circuits Symposium (2018-
                2022)
            o International Technical Program Committee member – IEEE International Solid-State
                Circuits Conference (ISSCC) Technology Directions subcommittee (2017-2022)
            o Technical Program Committee member – IEEE Custom Integrated Circuits
                Conference (CICC) (2017-2023)
            o Technical program committee – IEEE Biomedical Circuits and Systems Conference
                (BioCAS) (2014-2015)
            o Session chair – International Symposium on Low-Power Electronics and Design
                (ISLPED) (2014)
            o Technical program committee - CMOS Emerging Technologies Research Symposium
                (2013-2016)
         Peer reviewer (2009-present)
            o IEEE Journal of Solid-State Circuits (JSSC)
            o IEEE Transactions on Circuits and Systems I (T-CAS I)
            o IEEE Transactions on Circuits and Systems II (T-CAS II)
            o IEEE Transactions on Microwave Theory and Techniques (T-MTT)
            o IEEE Sensors Journal
            o IEEE Transaction on Power Electronics




    Curriculum Vitae                                 28                                 Patrick P. Mercier

                                                                                                     Exhibit A
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                                  #:170332
             o   Journal of Low Power Electronics and Applications (JLPEA)
             o   IET Circuits, Devices & Systems
             o   IEEE International Conference on Ultra-Wideband (ICUWB)
             o   IEEE Transactions on Biomedical Circuits & Systems (TBioCAS)
             o   IEEE Transactions on Biomedical Engineering (TBME)
             o   IEEE International Conference on Circuits and Systems (ISCAS)
             o   IEEE Biomedical Circuits and Systems Conference (BioCAS)
             o   IEEE Journal of Emerging and Selected Topics in Power Electronics
             o   IEEE Transactions on Industrial Electronics
             o   Nature Nanotechnology
             o   Advanced Materials
             o   Nature Biomedical Engineering
             o   Science Advances

         Grant review service
            o NSF SenSE panel reviewer (July 2020)
            o NSF ECCS panel reviewer (February 2019)
            o NSF ECCS panel reviewer (January 2018)
            o NSF ECCS panel reviewer (March 2015)
            o ARL ARL Director's Research Initiative (DRI) reviewer (June 2015)
         UCSD Campus-wide Service
           o Co-Director – Center for Wearable Sensors – including 23 faculty across four
              engineering departments, the School of Medicine, and Arts and Humanities
              (Department of Visual Arts). Funding comes from the membership of 6-10 corporate
              partners. (2014-present)
           o Site Director – Power Management Integration Center – includes 5 faculty across
              multiple engineering departments. Funding comes from the membership of 8-12
              corporate partners. (2021-present)
           o Vice Chair Academic Senate Faculty Affairs Committee (2023-present)
           o Chair, UCSD Academic Senate Awards Committee (2020-2022)
           o Member, UCSD Academic Senate Awards Committee (2018-2020)
           o Member, Office of Research Affairs Center Launch Review Panel. (2017-2018)
           o Member, UCSD School of Public Health Advisory Committee (2017-2019)
           o UCSD representative on Capitol Hill – presented to congressional staffers via an event
              hosted by the American Institute for Medical and Biological Engineering, then met,
              alongside UCSD’s Executive Director of Government Research Relations, with the
              offices of three San Diego Congressmen and one California Senator to discuss research
              at UCSD. (2017)
           o Faculty representative, Campus-wide commencement ceremony (2017)
           o Organizer & presenter, KAIST-UCSD Symposium on Micro/Nanotechnologies and
              Electronics for Next-Generation Mobile, Wearable, and IoT Systems, Deajeon, Korea
              (2015)
           o Faculty representative, Welcome Week Convocation Ceremony (2013)
         UCSD ECE Departmental Service
           o Member, Faculty search committee, Systems Focus (2024)
           o Adhoc committee member, faculty review files (2x in 2024)
           o Chair, ECE Faculty Awards Committee (2023-present)
           o Chair, ECE Admissions Steering Committee (2020-2022)
           o Member, ECE Admissions Committee (2019-present)



    Curriculum Vitae                                 29                                  Patrick P. Mercier

                                                                                                   Exhibit A
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                                  #:170333
            o   Medical Devices and Systems curriculum advisor (2018-2020)
            o   ECE 50th Anniversary planning committee (2015-2016)
            o   MS Exam committee (2014-present)
            o   Alumni Imitative (2014-2020)
            o   Undergraduate/Graduate Affairs and Student Award Nomination committee (2012-
                2014)
            o   Medical Devices and Systems curriculum director (2013-2014)
            o   Medical Devices and Systems Ad-hoc committee - responsible for creating a new
                program in this area (2012-2013)
        Co-Chair, Microsystem Technology Lab Annual Research Conference (2011)
        Annual research conference with over 200 academic and industrial attendees. Responsible for steering
        committee leadership and conference organization including: solicitation of papers, managing paper
        edits, keynote speaker invitation, opening and closing remarks, and general planning. Created
        interactive attendee activities to solicit social and technical engagement amongst industry members
        and students. Cited by a high-ranking industry member as “the best student run conference in the
        country”.


   Broader Impacts & Outreach ________________________________________________________

       •   Presented a webinar at BioXTech, a country-wide club founded and run by high school
           women interested in the intersection of biology and technology, and answered questions
           about technology and gave career advice (2023)
       •   Featured in the publication entitled “Building Blocks for Better Science: Case Studies in
           Low-Cost and Open Tools for Science”, which describes my work in low-cost COVID-19
           symptoms monitoring devices (2020)
       •   Guest instructor at Hands-on-Technology summer camp at Wangenheim Middle School
           focused on accelerating the understanding of computer science in elementary and school-
           aged children (2014-present)
       •   Directly mentored ten B.S., M.S., and Ph.D. students from historically underrepresented
           backgrounds, including two high school students (2012-present)
       •   Directly mentored two high school students from historically underrepresented backgrounds
           (2013, and 2016-2017)
       •   Keynote speaker at ENSPIRE: one of the largest outreach at UCSD, where over 300 middle-
           school children visit UCSD to learn about higher education and engineering (Feb. 2015)


   Press Articles _______________________________________________________________________

   Prof. Mercier’s work across several different projects and his expert opinion have been featured in hundreds
   of press articles and in other forms of media (e.g., TV and radio). A few select articles/videos are shown
   below.

       [1] Adee, S. “Cyborg moth gets a new radio,” IEEE Spectrum, Feb. 2009.
           http://spectrum.ieee.org/robotics/military-robots/cyborg-moth-gets-a-new-radio
       [2] Dillow, C. “Researchers turn animals ears into bio-batteries,” Popular Science, Nov. 7, 2012.
           http://www.popsci.com/science/article/2012-11/building-batteries-mammalian-inner-ear
       [3] Doyle, K. “A chip powered by the battery in your ear,” Popular Mechanics, Nov. 7, 2012.
           http://www.popularmechanics.com/how-to/blog/scientists-tap-into-the-battery-in-your-ear-
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   Curriculum Vitae                                        30                                       Patrick P. Mercier

                                                                                                              Exhibit A
                                                                                                                  -32 -
Case 8:20-cv-00048-JVS-JDE Document 1987-3 Filed 06/30/24 Page 35 of 108 Page ID
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            http://spectrum.ieee.org/tech-talk/biomedical/devices/using-the-inner-ears-biological-battery
       [6] Brown, E. “Inner ear’s energy can work like a battery, scientists say,” The Los Angeles Times, Nov.
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       [13] Savage, N. “Body talk with magnets,” IEEE Spectrum, Sept. 16, 2015.
            http://spectrum.ieee.org/tech-talk/consumer-electronics/gadgets/body-talk-with-magnets
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            http://phys.org/news/2015-08-mouth-health-markers-transmits-wirelessly.html
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            http://www.technologyreview.com/news/541111/smart-mouthguard-monitors-your-saliva-and-your-health/
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            https://www.cnet.com/news/flexible-patch-performs-like-a-wearable-tricorder/
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   Curriculum Vitae                                     31                                    Patrick P. Mercier

                                                                                                        Exhibit A
                                                                                                            -33 -
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            https://www.thedoctorstv.com/videos/could-temporary-tattoo-help-detect-your-alcohol-content-
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            https://spectrum.ieee.org/the-human-os/biomedical/devices/wireless-network-brings-dustsized-
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            https://scitechdaily.com/cutting-edge-chip-for-waking-up-small-wireless-devices-only-uses-0-
            000000022-watts/
       [27] Nield, D. “Low power, tiny chip could see connected smart devices go battery-free,” New Atlas,
            Feb. 19, 2020.
            https://newatlas.com/telecommunications/tiny-wi-fi-chip-smart-home-devices/
       [28] Labios, L., “Wearables: Where are We?”, Triton Magazine, January 14, 2021.
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            https://www.6gworld.com/exclusives/the-road-to-energy-efficiency-in-video-starts-with-
            standards/
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            https://expmag.com/2021/05/your-workouts-could-charge-your-smartwatch/
       [31] Szporer, R., “Wearable Tech’s Marriage Between Fashion and Functionality has Expiry Date”,
            6G World, June 22, 2021.
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            levels-in-real-time/
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            https://www.electronicsweekly.com/news/business/piezoelectric-based-dc-dc-converter-
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   Curriculum Vitae                                     32                                     Patrick P. Mercier

                                                                                                         Exhibit A
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                     EXHIBIT B
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WE INVENT THE WEARABLE
SYSTEMS THE WORLD NEEDS.
Wearable sensors are trending, but only UC San Diego
is championing the unobtrusive, ultra-low power, highly
adaptive sensor systems that are revolutionizing health,                                   fire-alt bolt running weight
fitness, security, and energy – by way of the data
available from our bodies.
The Center for Wearable Sensors has world-renowned
faculty and top students working in the key areas that
converge to invent and test the sensing platforms and
technologies that fuel the future of sensor systems.
Join us.


TECH AND SYSTEMS EXPERTISE
  • Chemical Sensors and Biosensors
  • Electrophysiological Monitoring
  • Soft Electronics and Stretchable Materials
  • Sensors-Electronics Integration and Fabrication
  • Glucose Monitoring
  • Wireless Communications
  • On-Body Energy Harvesting
  • Ultra-Low-Power Instrumentation                                                                  tint heartbeat bolt fire-alt
  • Data Processing, Fusion and Machine Learning




                                                           MEMBERSHIP OPPORTUNITIES
                                                           Access experimental wearable sensor platforms and
                                                           a community of engineers and medical researchers
                                                           developing these systems for real-world applications.
                                                           Keep abreast of breakthroughs relevant for growth in
                                                           your industry.
                                                           Recruit a qualified technical workforce innovating the
                                                           wearable sensing industry.



                                                                                                              Exhibit B
                                                                                                                  -35 -
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                                       #:170338
         CENTER FOR WEARABLE SENSORS

         WHO WE ARE and WHAT WE DO
         We design new sensors, sensor electronics, materials, and energy harvesters. We integrate our work into real systems
         whose designs are informed by leading clinicians and human interface design experts.

         Joseph Wang                                  Harinath Garudadri                         Yu-Hwa Lo
         Non/minimally-invasive electrochemical       Signal processing, wearable                Microfluidics, biomedical devices for in-
         sensing, printable sensors, soft             electrophysiology                          vitro diagnostics, bio- and nanophotonics
         bioelectronics
                                                      Job Godino                                 Kenneth Loh
         Patrick Mercier                                                                         Multifunctional materials, spatial
         Wireless communications, energy-             Wearable and mobile health technology      sensing, and tomographic methods
         harvesting integrated circuits, ultra-low-   David Gough
         power systems                                                                           Tse Nga (Tina) Ng
                                                      Long-term glucose sensors,
                                                      biocompatible materials                    Free-form, flexible electronics fabrication
         Dinesh Bharadia                              Drew Hall                                  Albert P. Pisano
         Efficient wireless communications                                                       MEMS, manufacturing, low-cost sensors
         and networking                               Biosensors, medical electronics, sensor
                                                      interfaces
                                                                                                 Gabriel Rebeiz
         Gert Cauwenberghs                            Jesse Jokerst                              RFICs for microwave and mm-wave
         Wireless dry and non-contact                                                            systems, low-power circuits
         biopotential monitoring                      Use of acoustic data to create devices
                                                      that monitor human health
                                                                                                 Tajana Rosing
         Chung-Kuan Cheng                             Tzyy-Ping Jung                             Energy-efficient systems, embedded
         Parallel processing, power network                                                      systems
         analysis for VLSI systems and circuits       Dry & non-prep EEG sensors, wearable
                                                      and wireless EEG systems
                                                                                                 Sheng Xu
         Todd Coleman                                 Vincent Leung                              Wearable electronics, advanced
         Information theory, neuroscience,                                                       stretchable materials
         machine learning, bioelectronics             Wireless transceivers, RF/mixed-signal
                                                      circuit design
                                                                                                 Benjamin Bratton
         Shadi Dayeh                                  Darren Lipomi                              Visual Arts, interface with VR and AR
         Electro-neural interfaces and compact                                                   environments
         wearable electronics                         Stretchable electronics, polymer
                                                      chemistry, stimuli-responsive materials
                                         FORENSICS
                                          SECURITY




                                                                                                              TEXTILES
                                                                            FITNESS
HEALTH




               PARTNER BENEFITS
                • Recruit our top students                                   • Fast-track research agreements
                • Access to multidisciplinary researchers                    • Access to commercialization engine
                  all focused on wearables                                     with lab-to-market focus
                • Embed a Visiting Industry Fellow in our labs               • Seat on the Center Advisory Board
                • Industry-faculty-student research teams                    • Invitations to Research Summits


               Director                                 Co-Director
               Joseph Wang                              Patrick Mercier                         Cody Noghera
               Professor                                Professor                               Executive Director
               NanoEngineering                          Electrical and Computer Engineering     Corporate Research Partnerships
               josephwang@ucsd.edu                      pmercier@ucsd.edu                       cnoghera@eng.ucsd.edu
                                                                                                                                               v 2004




               +1 (858) 246-0128                        +1 (858) 534-6026                       +1 (858) 246-0214


         University of California San Diego                                                                Center for Wearable Sensors
         Jacobs School of Engineering                                                                      WearableSensors.ucsd.edu

                                                                                                                           Exhibit B
                                                                                                                               -36 -
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                                  #:170339




                     EXHIBIT C
Case 8:20-cv-00048-JVS-JDE Document 1987-3 Filed 06/30/24 Page 41 of 108 Page ID
                                  #:170340

      From:                 Jared Bunker
      To:                   Passamaneck, Nora Q.E.
      Cc:                   Apple-Masimo; Frazier, Sarah; WH Apple-Masimo Service List; Masimo.Apple
      Subject:              RE: Masimo v. Apple (CDCA) - Disclosure of Patrick Mercier
      Date:                 Friday, June 21, 2024 9:08:49 PM
      Attachments:          image001.jpg



      Nora,

      We disagree on the merits for the reasons we’ve discussed. Regarding the timeline, we note
      that the CAFC affirmed the PTAB’s decision on the two Asserted Patents five months ago in
      January, and the Court lifted the stay two months ago in April. Yet Apple waited until June to
      disclose Dr. Mercier. Plaintiffs nevertheless promptly provided their objection earlier than
      required under the PO. Any alleged timing challenge that Apple faces is its own doing – not
      Plaintiffs’.

      We are working diligently on our portion of a joint stipulation and will provide it to Apple as
      soon as possible.

      Sincerely,
      Jared

      Jared Bunker
      Partner
      949-721-2957 Direct
      Knobbe Martens

      From: Passamaneck, Nora Q.E. <Nora.Passamaneck@wilmerhale.com>
      Sent: Friday, June 21, 2024 3:20 PM
      To: Jared Bunker <Jared.Bunker@knobbe.com>; Frazier, Sarah <Sarah.Frazier@wilmerhale.com>
      Cc: Apple-Masimo <apple-masimo@haynesboone.com>; WH Apple-Masimo Service List <WHApple-
      MasimoServiceList@wilmerhale.com>; Masimo.Apple <Masimo.Apple@knobbe.com>
      Subject: RE: Masimo v. Apple (CDCA) - Disclosure of Patrick Mercier

      Jared,

      Thank you for explaining Plaintiffs’ position on today’s meet and confer regarding Apple’s disclosure
      of Dr. Mercier. We disagree that his work at the Center for Wearable Sensors or as a member of the
      Scientific Advisory Board of NeuroVigil disqualifies him as an expert. Dr. Mercier is not an “officer,
      director, or employee” or NeuroVigil, and the Center for Wearable Sensors does not compete with
      Masimo. Nor have you explained how his work at the Center otherwise disqualifies him. Given that
      the deadline for expert reports is fast approaching, this matter must be resolved immediately. We
      expect that Plaintiffs will file any objection no later than Monday. We further put Masimo on notice
      that Apple intends to raise this issue with Judge Selna at the hearing, and that Apple will ask for the
      deadline for expert reports to be extended by the period of time needed to resolve Masimo’s
      objection.


                                                                                                       Exhibit C
                                                                                                           -37 -
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                                  #:170341


      Thank you,
      Nora



      From: Jared Bunker <Jared.Bunker@knobbe.com>
      Sent: Thursday, June 20, 2024 11:42 PM
      To: Passamaneck, Nora Q.E. <Nora.Passamaneck@wilmerhale.com>; Frazier, Sarah
      <Sarah.Frazier@wilmerhale.com>
      Cc: Apple-Masimo <apple-masimo@haynesboone.com>; WH Apple-Masimo Service List <WHApple-
      MasimoServiceList@wilmerhale.com>; Masimo.Apple <Masimo.Apple@knobbe.com>
      Subject: RE: Masimo v. Apple (CDCA) - Disclosure of Patrick Mercier


      EXTERNAL SENDER



      Nora,

      Let’s talk tomorrow at 11am PDT. We can use the following Teams link:

      Join the meeting now
      Meeting ID: 276 223 125 297
      Passcode: vn9JXE

      Sincerely,
      Jared

      Jared Bunker
      Partner
      949-721-2957 Direct
      Knobbe Martens

      From: Passamaneck, Nora Q.E. <Nora.Passamaneck@wilmerhale.com>
      Sent: Thursday, June 20, 2024 4:41 PM
      To: Jared Bunker <Jared.Bunker@knobbe.com>; Frazier, Sarah <Sarah.Frazier@wilmerhale.com>
      Cc: Apple-Masimo <apple-masimo@haynesboone.com>; WH Apple-Masimo Service List <WHApple-
      MasimoServiceList@wilmerhale.com>; Masimo.Apple <Masimo.Apple@knobbe.com>
      Subject: RE: Masimo v. Apple (CDCA) - Disclosure of Patrick Mercier

      Jared,

      We disagree that Dr. Mercier’s work at the Center for Wearable Sensors or as a member of the
      scientific advisory board for NeuroVigil is a basis for objection. The Center for Wearable
      Sensors is a part of UC San Diego that includes 25 faculty; only Dr. Mercier’s work is relevant,


                                                                                                Exhibit C
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      not that of the entire Center. As a result, your request that Apple “identify and describe each
      physiological parameter for which the Center is currently developing or researching
      monitoring technology, as well as each physiological parameter for which the Center plans to
      develop or research monitoring technology in the future, either on its own or in collaboration
      with an ‘industry partner’” is overbroad and appears to be nothing more than a fishing
      expedition. As to NeuroVigil and its “brain monitoring technology” that allegedly competes
      with Masimo, no such technology is at issue here. Moreover, Masimo’s patents are public and
      Masimo itself asserts that it has been incorporating the alleged inventions in their products
      since 2002. Masimo’s products in development are not at issue, much less part of discovery
      in this action. In any event, we confirm that Dr. Mercier’s work with NeuroVigil does not relate
      to PPG technologies and further that none of his current work at the Center involving other
      “industry partners” involves optical sensing technologies.

      We are available to meet and confer tomorrow between 11-1 and 3-5 PST. Please let us know
      a time and circulate a dial-in if you would still like to confer.

      Thank you,
      Nora

      From: Jared Bunker <Jared.Bunker@knobbe.com>
      Sent: Wednesday, June 19, 2024 12:02 PM
      To: Frazier, Sarah <Sarah.Frazier@wilmerhale.com>
      Cc: Apple-Masimo <apple-masimo@haynesboone.com>; WH Apple-Masimo Service List <WHApple-
      MasimoServiceList@wilmerhale.com>; Masimo.Apple <Masimo.Apple@knobbe.com>
      Subject: RE: Masimo v. Apple (CDCA) - Disclosure of Patrick Mercier


      EXTERNAL SENDER



      Sarah,

      Pursuant to Section 9.2(c) of the PO, Plaintiffs object to Apple’s proposed disclosure of
      Plaintiffs’ designated material to Dr. Mercier. Based on our initial review (our review is
      continuing), at least through his work with the Center for Wearable Sensors (“the Center”), Dr.
      Mercier appears to be involved in developing non-invasive physiological monitoring technology
      that competes with Plaintiffs. For example, some of the promotional material on the Center’s
      website indicates that the Center has developed or is developing glucose monitoring
      technology on its own or with “industry partners.” The Center’s website also indicates that it is
      working with industry partners on sensors that rely on “electrophysiological modalities.” The
      Center’s website also identifies low-power sensors as one of the areas in which it works with
      its industry partners.

      Moreover, NeuroVigil appears to be involved in developing brain monitoring technology that


                                                                                                Exhibit C
                                                                                                    -39 -
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      competes with Plaintiffs.

      Pursuant to the PO, we request that Apple provide additional information regarding Dr.
      Mercier’s work. In particular, please identify and describe each physiological parameter for
      which the Center is currently developing or researching monitoring technology, as well as
      each physiological parameter for which the Center plans to develop or research monitoring
      technology in the future, either on its own or in collaboration with an “industry partner.”
       Please further explain the Center’s work developing and researching low-power systems, as
      well as the current and planned applications for NeuroVigil’s brain monitoring technology.

      Finally, please let us know your availability to meet and confer on Plaintiffs’ objection to Dr.
      Mercier today or sometime this week.

      Sincerely,
      Jared


      Jared Bunker
      Partner
      949-721-2957 Direct
      Knobbe Martens

      From: Frazier, Sarah <Sarah.Frazier@wilmerhale.com>
      Sent: Wednesday, June 12, 2024 2:53 PM
      To: Masimo.Apple <Masimo.Apple@knobbe.com>
      Cc: Apple-Masimo <apple-masimo@haynesboone.com>; WH Apple-Masimo Service List <WHApple-
      MasimoServiceList@wilmerhale.com>
      Subject: Masimo v. Apple (CDCA) - Disclosure of Patrick Mercier

      Counsel,

      Under Section 9.2 of the Protective Order, Apple discloses Patrick Mercier as an expert in the
      above‐captioned to whom Apple may disclose information designated under the PO. Attached
      please find Dr. Mercier’s current CV; signed copy of Exhibit A; a list of his prior expert witness
      engagements; and a list of his patents. Dr. Mercier is employed by the University of California, San
      Diego, and in the past five years has consulted related to non-invasive physiological monitoring
      technologies with Neurovigil; Traq; and Vaaji.

      Regards,
      Sarah

      Sarah R. Frazier | WilmerHale
      she/her/hers
      60 State Street



                                                                                                     Exhibit C
                                                                                                         -40 -
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                                  #:170344




      Boston, MA 02109 USA
      +1 617 526 6022 (t)
      +1 617 526 5000 (f)
      sarah.frazier@wilmerhale.com


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                                                                                                                             Exhibit C
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                     EXHIBIT D
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                                  #:170346




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          3579 Valley Centre Drive                 1925 Century Park East, Suite 600
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          Phone: (858) 707-4000                    Phone: (310) 551-3450
     13   Fax: (858) 707-4001                      Fax: (310) 551-3458
     14   Attorneys for Plaintiffs,
          MASIMO CORPORATION and CERCACOR LABORATORIES, INC.
     15
                         IN THE UNITED STATES DISTRICT COURT
     16                FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                  SOUTHERN DIVISION
     17
          MASIMO CORPORATION, a                   ) Case No. 8:20-cv-00048-JVS-JDE
     18   Delaware corporation; and               )
          CERCACOR LABORATORIES,                  ) DECLARATION OF EUGENE
     19   INC., a Delaware corporation            ) GOLDBERG IN SUPPORT OF
                                                  ) PLAINTIFFS’ MOTION FOR A
     20                  Plaintiffs,              ) PROTECTIVE ORDER
                                                  ) PRECLUDING DEFENDANT
     21           v.                              ) FROM DISCLOSING PLAINTIFFS’
                                                  ) CONFIDENTIAL MATERIALS TO
     22   APPLE INC., a California corporation    ) DR. PATRICK MERCIER
                                                  )
     23                  Defendant.               )
                                                  )
     24                                           )
                                                  )
     25                                           )
                                                  )
     26                                           )
     27

     28




                                                                                       Exhibit D
                                                                                           -42 -
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                                  #:170347




       1         I, Eugene Goldberg hereby declare as follows:
       2         1.      I am President, Consumer Health, at Masimo Corporation
       3   (“Masimo”). I have held that position since September 2022. I have personal
       4   knowledge of the matters set forth in this declaration and, if called upon as a
       5   witness, would testify competently thereto. I submit this Declaration in Support
       6   of Plaintiffs’ Motion for a Protective Order Precluding Defendant from Disclosing
       7   Plaintiffs’ Confidential Materials to Dr. Patrick Mercier.
       8         2.      Masimo is a medical technology company and leader in non-invasive
       9   monitoring of physiological parameters, such as pulse rate and arterial oxygen
      10   saturation.
      11         3.      Companies including Samsung and Google offer competing
      12   wearable products for non-invasive physiological monitoring, such as wearables
      13   for monitoring heart rate. Moreover, some of the competing wearable products
      14   for non-invasive physiological monitoring, such as wearables for monitoring
      15   heart rate, are based on electrical activity in the body and not optical
      16   measurements.
      17         4.      The Masimo W1® is a wearable that provides a non-invasive
      18   hydration index. To my knowledge, the Masimo W1® is the only wearable
      19   currently on the market that provides this measurement.
      20         I declare under the penalty of perjury that the foregoing is true and correct.
      21   Executed on June 27, 2024, at Encinitas, California.
      22
      23
                                                Eugene Goldberg
      24

      25

      26

      27

      28


                                                    -1-

                                                                                           Exhibit D
                                                                                               -43 -
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                     EXHIBIT E
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                                  #:170349
6/26/24, 6:05 PM                                  About | Center for Wearable Sensors


    Center for Wearable Sensors (/)




    About the Center

    The Center for Wearable Sensors brings together top UC San Diego faculty,
    students and researchers in sensors, low-power circuits, materials,
    electrochemistry, bioengineering, wireless network technologies, preventive
    medicine, the life sciences and more.


    This coordinated environment fosters the acceleration of research and system development, and it
    helps prepare our students to become leaders in tomorrow’s workforce.

    Advanced research informed by the needs of our industry partners sets the stage for improved human
    health, economic growth and innovation in the myriad fields tied to the wearable sensor platforms of
    tomorrow.

    The Jacobs School of Engineering offers entrepreneurial programs that guide, educate and support
    these innovators in order to ensure that breakthroughs and innovations have the greatest chance of
    moving from the lab to the marketplace.

    The backdrop for all this is San Diego, a global leader in wireless technologies and digital health.
    Collaborations between the Center for Wearable Sensors, industry partners and neighboring research
    institutions on The Mesa, in San Diego and beyond offer unrivaled potential for research partnerships
    and innovation that will improve the lives of humans everywhere.

    Leadership


wearablesensors.ucsd.edu/about                                                                              1/4

                                                                                               Exhibit E
                                                                                                   -44 -
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                                  #:170350
6/26/24, 6:05 PM                                  About | Center for Wearable Sensors




    FACULTY DIRECTOR
    CENTER FOR WEARABLE SENSORS
    Joseph Wang (mailto:josephwang@ucsd.edu)
    Professor, Dept. of NanoEngineering




    ASSOCIATE FACULTY DIRECTOR
    CENTER FOR WEARABLE SENSORS
    Patrick Mercier (mailto:pmercier@ucsd.edu)
    Professor, Dept. of Electrical and Computer Engineering




    DIRECTOR
    CORPORATE RESEARCH PARTNERSHIPS
    Cindy Hanson
    Corporate Affiliates Program, Jacobs School of Engineering


    Industry Partners
wearablesensors.ucsd.edu/about                                                                      2/4

                                                                                        Exhibit E
                                                                                            -45 -
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                                  #:170351
6/26/24, 6:05 PM                                         About | Center for Wearable Sensors




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wearablesensors.ucsd.edu/about                                                                             3/4

                                                                                               Exhibit E
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6/26/24, 6:05 PM                       About | Center for Wearable Sensors




wearablesensors.ucsd.edu/about                                                           4/4

                                                                             Exhibit E
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                     EXHIBIT F
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                                  #:170354
6/25/24, 11:35 PM                                 Research | Center for Wearable Sensors


    Center for Wearable Sensors (/)




    Research

    The Center for Wearable Sensors is striking at big questions and challenges
    that are facing the wearable sensors sectors. Creative and relevant, the
    Center is focused on working with industry partners to revolutionize key
    components of wearable sensor systems, including:

    Taking multiple measurements from diverse sensors on the body
    This involves simultaneous, real-time measurement of multiple parameters including chemical,
    physical, and electrophysiological modalities.



    Ultra low-power and self-powered sensor systems
    Researchers are developing self-powered sensor systems to be embedded into media such as clothing.
    Such autonomous systems could monitor heart rate, hydration levels, blood sugar and more, without
    any direct user interaction required.



    Novel biocompatible and stretchable materials
    Projects include: Stretchable semiconducting polymers with properties mimicking biological tissues
    and long-term-implanted and minimally-invasive sensors.



    Novel methods for device fabrication and integration
    Flexible, printable micro-sensors for on-body sensing as well as high-density conformal sensor arrays.




wearablesensors.ucsd.edu/research                                                                            1/3

                                                                                                 Exhibit F
                                                                                                     -48 -
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                                  #:170355
6/25/24, 11:35 PM                                       Research | Center for Wearable Sensors

    Clinical Uses and Clinical Trials
    Medical researchers and clinicians from UC San Diego’s world-class Health System work with
    engineers to address clinical medicine and public health issues that are crucial for realizing the promise
    of wearable sensing.



    Novel micro and nano Wi-Fi networks for data transmission
    Pushing the power limits of wireless transceivers enables ultra-long battery life and/or net-zero-power
    systems for energy autonomy.



    Cloud data storage and analytics

    Our Labs Publish
    Publications pages for Center labs are linked below.

    Biosensors Lab (http://biosensors.eng.ucsd.edu/)
    BioSensors and BioElectronics Group (http://bioee.ucsd.edu/)
    Lab on a Chip Research (https://sites.google.com/a/logroup.ucsd.edu/web/publication)
    Energy-Efficient Microsystems Group (http://efficiency.ucsd.edu/)
    Integrated Electronics and Bio-interfaces Lab (http://iebl.ucsd.edu/)
    Laboratory for Nanobioelectronics (http://joewang.ucsd.edu/)
    Neural Interaction Lab (http://coleman.ucsd.edu/)
    PRIME Systems Laboratory (http://primelab.eng.ucsd.edu/)
    System Energy Efficiency Lab (http://seelab.ucsd.edu/research.shtml)
    Lab for Soft Electronics, Solar Cells and Nanomanufacturing (http://darrenlipomi.com/publications)
    Wireless and Population Health Systems (http://cwphs.ucsd.edu/index.php?
    option=com_content&view=article&id=59&Itemid=86)




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                                                                                                   Exhibit F
                                                                                                       -49 -
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6/25/24, 11:35 PM                               Research | Center for Wearable Sensors




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wearablesensors.ucsd.edu/research                                                                    3/3

                                                                                         Exhibit F
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                     EXHIBIT G
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                                      #:170358




                                                                                         search...
About Us




 Mission Statement
 NeuroVigil is a global neurotechnology pioneer which develops proprietary non-invasive brain monitors and advanced
 machine learning algorithms to detect a constellation of biomarkers of pathologies in asymptomatic individuals, such as
 people with neurodegeneration, adverse drug side effects or brain cancer, and to ascertain intent including, at the
 request of the late Dr. Stephen Hawking, in individuals who cannot otherwise communicate. This arsenal of technologies
 does not require any non-human animal experimentation.

 The company successfully went to market in 2009, garnered research contracts with elite pharmaceutical companies,
 and spearheads a growing international preventive health conglomerate of leading innovators and entrepreneurs.

 The company was founded and is led by Dr. Philip Low.



   Home      About Us      News
   The Honorable Congressman Chaka Fattah and Dr. Philip Low, NeuroVigil Founder, Chairman and CEO deliver the two keynotes at Israel's first

   International Brain Technology Conference




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                                                                                                                                 Exhibit G
                                                                                                                                     -51 -
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                     EXHIBIT H
Case 8:20-cv-00048-JVS-JDE Document 1987-3 Filed 06/30/24 Page 61 of 108 Page ID
                                  #:170360
6/25/24, 11:36 PM                                           Masimo - Next Generation SedLine® Brain Function Monitoring



    TECHNOLOGY


    SedLine®
    Brain Function Monitoring
    A More Complete Picture Starts with More Complete Data

    Brain Function Monitoring helps clinicians monitor the state of the brain under
    anesthesia with bilateral data acquisition and processing of electroencephalogram
    (EEG) signals.

    Schedule an Evaluation




https://professional.masimo.com/products/continuous/root/root-sedline/                                                            1/20

                                                                                                                          Exhibit H
                                                                                                                              -52 -
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                                  #:170361
6/25/24, 11:36 PM                                 Masimo - Next Generation SedLine® Brain Function Monitoring



                        Deliver Anesthesia Based on Individual Patient Need


                                 Identify Incidences of Burst Suppression


                          Gain a More Complete Picture of Patient Sedation



Discover more about SedLine®
                                 




    Why Monitor the Brain During
    Anesthesia?
    The brain is one of the most important organs in the body. By delivering greater insights
    into changes in brain function under anesthesia, SedLine is designed to help monitor it
    before, during, and after surgery.



    Deliver Balanced Anesthesia
    Titrating to the individual patient’s needs may help reduce oversedation,1 which has
    been linked to poor outcomes2




             CLINICAL EVIDENCE




                Clinical benefit of processed
                   l t                        h l                   h ( EEG)
https://professional.masimo.com/products/continuous/root/root-sedline/                                                  2/20

                                                                                                                Exhibit H
                                                                                                                    -53 -
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                                  #:170362
6/25/24, 11:36 PM                                           Masimo - Next Generation SedLine® Brain Function Monitoring

              electroencephalography (pEEG)




              CLINICAL EVIDENCE

              EEG Patterns Associated with PACU Delirium2




    "...reasons why monitoring processed EEG may be of value:
    prevent awareness, save money by reducing anesthetic cost,
    prevent excessively deep and unnecessarily deep
    anesthesia..."


    — Adrian Gelb, MD
      Professor of Anesthesia, UCSF
https://professional.masimo.com/products/continuous/root/root-sedline/                                                            3/20

                                                                                                                          Exhibit H
                                                                                                                              -54 -
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                                  #:170363
6/25/24, 11:36 PM                                           Masimo - Next Generation SedLine® Brain Function Monitoring


        Past President of WFSA (World Federation of Societies of Anaesthesiologists)




    Clinical Testimonies - The Value of Brain Monitoring in OR
    and ICU




                         Watch                                                                                        18:01
                         (https://player.vimeo.com/video/879549340?
                         texttrack=en)




    Debunking Misconceptions About Brain Monitoring
    The clinical value of monitoring depth of sedation in the operating room. Featuring Dr.
    Adrian Gelb (UCSF).




https://professional.masimo.com/products/continuous/root/root-sedline/                                                                4/20

                                                                                                                              Exhibit H
                                                                                                                                  -55 -
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                                  #:170364
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                         Watch                                                                                        15:04
                         (https://player.vimeo.com/video/879549827?
                         texttrack=en)




    Make Sedation Monitoring a Standard of Care in the ICU
    Learn how brain function monitoring in the ICU can support clinicians in making timely,
    cost-effective care decisions when they matter most. Featuring Dr. Michael Ramsay
    (Baylor Scott & White).




https://professional.masimo.com/products/continuous/root/root-sedline/                                                                5/20

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       A More Complete Picture Starts
       with More Complete Data

       See more with SedLine




        1      Four simultaneous channels of frontal EEG waveforms

        2      An enhanced Patient State Index (PSi), a processed EEG
               parameter related to the effect of anesthetic agents


        3      A Density Spectral Array (DSA) display, which contains left and
               right spectrograms representing the power of the EEG on both
https://professional.masimo.com/products/continuous/root/root-sedline/                                                            6/20

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               right spectrograms representing the power of the EEG on both
               sides of the brain

        4      An optional Multitaper DSA, which may enhance visibility of EEG
               features




       The Power of the Density Spectral Array (DSA)
       SedLine offers the flexibility of choosing to display either an enhanced Multitaper
       Density Spectral Array (DSA) or a standard Hanning DSA.

             This provides the ability to see the symmetry of left and right sides of the brain.

             Clearly indicates incidence of burst suppression/isoelectric activity as a black
               line with blue tip.

             Spectral edge frequency represents where 95% of the brain power lies.




       Understand the DSA

       The DSA represents the power of the EEG on both sides of the brain, alongside other
       patient information provided by SedLine sensors Watch the video to learn more
https://professional.masimo.com/products/continuous/root/root-sedline/                                                            7/20

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       patient information provided by SedLine sensors. Watch the video to learn more.




                            Watch                                                                                  04:14
                            (https://www.youtube.com/embed/pRIQcb-
                            hzmg)




       Improved Depth of Sedation Monitoring with Patient State
       Index (PSi)
       SedLine features an enhanced signal processing engine providing a better, more
       accurate Patient State Index (PSi), a processed EEG parameter related to the effect
       of anesthetic agents. Learn how we’ve advanced this technology.




                  ENHANCED FEATURES

                  Parallel Signal Processing Engines




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                  ENHANCED FEATURES

                  Adaptive Signal Processing




    Total Brain Solution via a Multimodal
    Platform
    Expand visibility in the OR and ICU
    Identify changes in brain function and make assessments that may help improve
    patient outcomes.




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    O3® Regional Oximetry

    Next Generation SedLine can be used simultaneously with O3 Regional Oximetry on the
    Root platform—delivering a more complete picture of the brain.

         O3 Regional Oximetry




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    Root® Patient Monitoring and Connectivity Platform

    SedLine connects seamlessly to the Root Patient Monitoring and Connectivity Platform
    —featuring a customizable, easy-to-interpret display that provides multiple views of
    brain monitoring data for expanded visibility in the OR and ICU.

         Root Patient Monitoring and Connectivity Platform




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    An integrated perioperative monitoring solution on Root

    Via Root, SedLine can be used simultaneously with O3 Regional Oximetry, Total
    Hemoglobin (SpHb®), and the Masimo LiDCO® Hemodynamic Monitoring System.

         O3 Regional Oximetry

         Total Hemoglobin (SpHb)

         Masimo LiDCO Hemodynamic Monitoring System




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       Resources
       Click below for links to critical information about SedLine Brain Function
       Monitoring.



       Materials


                             Next Generation SedLine Brain Function Monitoring
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                             Quick Reference Guide




       Clinical Cases




                             Masimo Technology: Combined O3 Regional Oximetry and
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                             SedLine Brain Function Monitoring
                             Case Study



                             SedLine Studies
                             Clinical Evidence Webpage




    Schedule an Evaluation
    SedLine is simple and easy to try in your facility and requires minimal additional
    equipment.




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          Root                                                                        SedLine Module
          Patient Monitoring and                                                      Connects Patient Cable to Root
          Connectivity Platform                                                       device




          RD SedLine Sensor                                                           Patient Cable
          Available for Adults and Chilren                                            For use with RD SedLine Sensor




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                                Schedule an Evaluation
                                Try SedLine in your facility today. Contact your Masimo
                                         Representative or complete the form below.




                       First Name *


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                                First Name *


                       Last Name *


                                Last Name *


                       Hospital / Company Name *


                                Hospital / Company Name *


                       Job Title *


                                Job Title *


                       Phone *


                                Phone *


                       Email *


                                Email *


                       Country *


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                       Organization Type *


                                Organization Type *


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                                Additional Comments

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      5
          Purdon P et al. Brit J of Anaesth. 10.1093 46-57.


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                       (/)

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    Take noninvasive monitoring to new sites and applications™


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                                UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MASSACHUSETTS
                                        (Worcester Division)


        VOICE DOMAIN TECHNOLOGIES, LLC,       §
                                              §
                 Plaintiff,                   §
                                              §
        v.                                    §
                                              §        Civil Action No. 13-cv-40138
        APPLE INC.,                           §
                                              §
                 Defendant.                   §
                                              §
                                              §
                                              §
                                              §

                         DEFENDANT APPLE INC.’S OPPOSITION TO
                  VOICE DOMAIN’S MOTION REGARDING PROTECTIVE ORDER
                        AND ENTRY OF INTERIM PROTECTIVE ORDER




       WEST\248898918.

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     I.      INTRODUCTION

             Defendant Apple Inc.(“Apple”) offers the following response in opposition to Plaintiff

     Voice Domain Technologies, LLC’s (“Voice Domain”) Motion Regarding Protective Order and

     Entry of Interim Protective Order (“Motion”). Dkt. 44. The Court should not enter Voice

     Domain’s final or interim protective orders, but instead, should enter Apple’s proposed

     protective order1 for at least the following reasons.

             First, Voice Domain misses the mark with its repeated protests that it is not a competitor

     of Apple (see, e.g., Motion at 1) and that Bruce Barker, the inventor and prosecutor of the patent-

     in-suit and Voice Domain’s sole owner and operator, should accordingly be permitted access to

     Apple’s highly confidential information. Mr. Barker, however, is a “competitive decisionmaker”

     for Voice Domain who continues to actively license and litigate Voice Domain’s patents and

     invent and prosecute patents in front of the Patent and Trademark Office (“PTO”). Disclosure of

     Apple’s highly confidential information to him poses an unacceptably high risk of disclosure

     and/or improper competitive use under well-established authority. Voice Domain has not, and

     cannot, show that it would suffer prejudice that outweighs the risk of harm to Apple posed by

     this level of disclosure.

             Second, Voice Domain’s proposed protective orders eliminate completely the

     CONFIDENTIAL - ATTORNEYS' EYES ONLY designation that was previously agreed to by

     the parties. Voice Domain has not explained to Apple or the Court why this already agreed to,

     and typically uncontroversial, designation should be eliminated. As such, Voice Domain’s

     protective orders that do not include this designation should not be entered, especially where this

     1
       Apple’s proposed protective order is attached as Exhibit 1 to the Declaration of Maya Choksi
     (“Choksi Decl.”) filed herewith. All exhibits cited in this opposition are attached as exhibits to
     the Choksi Decl.

                                                       1
     WEST\248898918.

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     elimination results in inadequate protection for Apple’s highly confidential information, as

     discussed in more detail below.

             Third, Voice Domain’s protective order allows counsel who access Apple’s highly

     confidential information to participate in the original prosecution of patents and counsel who

     access Apple’s highly confidential information and source code to draft and restructure claims

     during post-grant proceedings before the PTO, while informed of such information. Numerous

     courts have determined that this type of activity conveys an improper benefit. The possibility of

     misuse of Apple’s highly confidential technical information to strategically draft or amend

     claims is too high a risk. Moreover, Apple has no interest in arbitrarily limiting participation in

     post-grant proceedings, and expressed willingness to permit participation on the part of counsel

     viewing highly confidential information and source code as long as that counsel plays no part in

     drafting or amending claims. Voice Domain rejected this reasonable accommodation without

     explanation.

             Finally, Apple’s proposed protective order provides clarity to the parties on what is and is

     not discoverable from experts in this case. Voice Domain’s arguments otherwise do not have

     merit and therefore, should be rejected. Thus, for at least these reasons, the Court should enter

     Apple’s proposed protective order and deny Voice Domain’s request for entry of its final and

     interim protective orders.

     II.     STATEMENT OF FACTS

                  1.     Bruce Barker and Voice Domain

             As described in Voice Domain’s Motion and Complaint, Bruce Barker is the founder and

     sole owner and operator of the technology company Voice Domain Technologies, LLC. Motion

     at 3. Mr. Barker is also Voice Domain’s electrical engineer, patent inventor and patent

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     prosecution attorney. Id.; see also Dkt. 1 at ¶ 1. Indeed, Mr. Barker is the named “inventor of

     several patents relating to portable data entry, voice dictation, and digital recording devices, and

     Voice Domain is the assignee of his inventions.” Dkt. 1 at ¶ 1. While Voice Domain claims in

     its Motion that “neither Mr. Barker nor Voice Domain has any pending patent applications in the

     technology subject matter of this case” (Motion at 3),2 Mr. Barker continues to actively invent

     and prosecute patents in front of the PTO. See Exs. 2-5 (recently issued patent and recently

     published patent applications naming Bruce J. Barker as an inventor). Mr. Barker also acts as

     Voice Domain’s in-house counsel, patent prosecution attorney and is “a long-time patent

     attorney.” See Motion at 3. Further, Voice Domain actively licenses and litigates its patents, and

     Mr. Barker is Voice Domain’s sole decisionmaker and agent in regard to these licensing and

     litigation activities. Id. (“Voice Domain has, however, successfully licensed Mr. Barker’s

     patents to various electronics companies.”); id at 3-4 (“Voice Domain has occasionally had to

     enforce these patent rights in litigation”). Indeed, it was Bruce Barker that contacted Apple and

     engaged in extensive discussions on behalf of Voice Domain regarding the licensing of the

     patent-in-suit before filing this lawsuit. Id. at 4 (“Mr. Barker contacted Apple about the need to

     license the ’883 patent-in-suit.”)

                     2.     Apple’s Proposed Confidentiality Designations (¶¶ 7-10)

                In order to reasonably balance the need for disclosure in this litigation with protecting

     Apple’s confidential information, Apple’s proposed protective order has three tiers of

     confidentiality designations: CONFIDENTIAL, CONFIDENTIAL – ATTORNEYS’ EYES


     2
      Voice Domain’s support for this assertion is unclear as it has not submitted a sworn declaration
     or affidavit from Mr. Barker attesting to these facts, but cites to a portion of the transcript of
     Voice Domain’s outside counsel’s argument at the May 13, 2014 status conference held in this
     case. This portion of the transcript does not appear to even address the issue of whether Mr.
     Barker continues to invent and prosecute patents.

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     ONLY (hereinafter “AEO”), and CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY

     – SOURCE CODE (hereinafter “SOURCE CODE”). Ex. 1 (Apple’s Proposed Protective Order)

     ¶¶ 7-10.

                Material designated as CONFIDENTIAL can be seen by a party’s outside counsel and a

     limited number of a party’s employees. Id. at ¶ 8. Material designated as AEO and SOURCE

     CODE may be seen by a party’s outside counsel who is not involved in “competitive decision

     making” for a party, but not in-house counsel. Id. at ¶¶ 9-10. Because Bruce Barker is not only

     in-house counsel, but also a competitive decision maker for Voice Domain, as discussed in more

     detail below, Apple’s protective order expressly prohibits him from accessing material

     designated as AEO. Id. at ¶ 9. In fairness, Apple’s proposed protective order also prohibits

     Apple’s in-house counsel—even those not involved in competitive decision making—from

     accessing material designated as AEO. Id. Thus, Apple’s proposed restriction applies equally to

     both sides.3

                In addition, Apple’s proposed protective order bars mock jurors from viewing material

     designated as AEO or SOURCE CODE. Id. at ¶¶ 9-10.

                     3.    Voice Domain’s Proposed Confidentiality Designations (¶¶ 7-9)

                Voice Domain’s proposed protective order eliminates entirely the AEO designation,4

     thereby allowing Bruce Barker complete access to all material produced in this litigation except

     3
      The parties have agreed that Bruce Barker is expressly prohibited from accessing material
     designated as SOURCE CODE. Id. at ¶ 10.
     4
       Voice Domain unilaterally eliminated the AEO designation when submitting the protective
     orders attached to its motion. During the parties’ meet and confer discussions, Voice Domain
     agreed to a three-tiered protective order and never informed Apple that it would be eliminating
     this designation entirely. The discussion during the meet and confers was whether Bruce Barker
     should be allowed access to material marked with this designation, not whether the AEO
     designation should be eliminated entirely.

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    SOURCE CODE. Ex. 6 (comparison document showing the differences between Voice Domain

    and Apple’s proposed protective orders). Under Voice Domain’s proposal, Mr. Barker would be

    allowed to see Apple’s trade secrets, non-public technical information such as product

    development information, engineering and testing documents, non-public sensitive financial data

    such as pricing information, sales information, sales or marketing forecasts or plans, business

    plans, sales or marketing strategy, employee information, and other non-public information of

    similar competitive and business sensitivity. During the parties’ meet and confer discussions,

    Apple offered to consider disclosure of specific highly confidential documents or categories of

    documents such as Apple financial data to Mr. Barker. However, Voice Domain refused to agree

    to any compromise on this. Dkt. 44-9 at 4.

               Voice Domain’s unilateral and complete removal of the AEO designation also eliminates

    previously agreed upon protections.5 With the elimination of the AEO designation, the only

    available designations are either CONFIDENTIAL or SOURCE CODE. Thus, all of Apple’s

    highly confidential information that is not source code can only be designated as

    CONFIDENTIAL. During negotiations, Voice Domain and Apple had previously agreed that

    material designated as CONFIDENTIAL could be disclosed to mock jurors, but that material

    designated as AEO could not (as reflected in Apple’s proposed protective order). By eliminating

    the AEO designation, Voice Domain has eliminated the restriction on access of mock jurors to

    highly confidential information, an already agreed upon protection.




    5
     In addition to eliminating paragraph 9 entirely, Voice Domain did not update any of the internal
    cross-references within the protective order. As such, many of these cross references in Voice
    Domain’s proposed protective orders refer to the wrong paragraph and do not make sense. See
    Dkt. 44-1 at ¶¶ 8(b)(ii), 8(b)(iii), 9(c), 9(c)(ii), 10(c)(ix), 11(a), 11(e), 16(b).

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                  4.     The Parties’ Proposed Prosecution Bars (¶ 6(b))

             The parties agree that a prosecution bar is appropriate in this case for those who access

     material designated as SOURCE CODE. The dispute over the prosecution bar now centers on

     two disagreements. First, whether the prosecution bar should also apply to those who access

     material designated as AEO, and second, whether the prosecution bar should apply to post-grant

     proceedings (reexamination, inter partes review, covered business method review, or reissue

     proceedings).

             Apple’s position is that individuals who access Apple’s highly confidential technical

     information should not then be allowed to draft or amend claims, whether it be during original

     prosecution or in a post-grant proceeding. As such, Apple’s proposed prosecution bar applies to

     individuals who access AEO as well as source code. For post-grant proceedings, Apple had

     proposed that the prosecution bar would only preclude counsel from participating directly or

     indirectly in drafting or amending claims during that proceeding. Choksi Decl. at ¶ 8. This

     proposal would allow Voice Domain’s counsel to participate in post-grant proceedings to the

     extent they did not draft or amend claims. Voice Domain would not agree to this proposal, and

     argued that Apple’s proposal was unfair since it applied unequally to the parties, i.e. Apple’s

     counsel would not be barred from participating in post-grant proceedings because it would never

     be drafting or amending Voice Domain’s patent’s claims, while Voice Domain’s counsel would

     be barred if it chose to draft or amend claims during the post-grant proceeding. Dkt. 44-9 at 1-2

     In response to this complaint, Apple offered a proposal where neither party’s counsel could

     participate in post-grant proceedings. Voice Domain again rejected Apple’s attempt to bridge

     the parties’ gap and insists on a prosecution bar with no restriction on drafting or amending

     claims during post-grant proceedings. Apple’s proposed protective order offers the Court both


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    options proposed to Voice Domain, and allows the Court to choose whichever proposal it finds

    most appropriate in this case. Ex. 1 at ¶ 6(b).

                  5.     Apple’s Proposals on Expert Discovery (¶ 20)

             Paragraph 20 of Apple’s proposed protective order describes the materials that are and

    are not discoverable from experts in this case. Voice Domain’s proposed protective orders do

    not contain this paragraph or a similar provision.

    III.     ARGUMENT

             This Court has broad discretion to fashion an appropriate protective order that adequately

    protects the parties. Federal Rule of Civil Procedure 26 provides the Court with the power to

    enter a protective order that requires that confidential information be revealed only in a specified

    way. See Fed. R. Civ. P. 26(c)(1)(G); see also Seattle Times Co. v. Rhinehart, 467 U.S. 20, 36

    (1984) (Rule 26 “confers broad discretion on the trial court to decide when a protective order is

    appropriate and what degree of protection is required.”). As specified in [Rule] 26(c), however,

    a showing of good cause is required to justify any protective order.” Baker v. Liggett Group,

    Inc., 132 F.R.D. 123, 125 (D. Mass. 1990) (citing Anderson v. Cryovac, Inc., 805 F.2d 1, 7 (1st

    Cir. 1986)). When issuing a protective order, the court must balance the goal of full disclosure

    of relevant information against reasonable protection from economic injury. In Re Deutsche

    Bank Trust Co. Americas, 605 F.3d 1373, 1380 (Fed. Cir. 2010).

             “Courts presiding over patent cases have often crafted protective orders that address the

    need to limit access to protected technical information.” McAirlaids, Inc. v. Kimberly-Clark

    Corp., 7:13-cv-193, 2014 WL 904717 at *2 (W.D. Va. Mar. 7, 2014); see also Tailored Lighting,

    Inc. v. Osram Sylvania Prods, Inc., 236 F.R.D. 146, 148 (W.D.N.Y. 2006) (“Recognizing the

    sensitive nature of proprietary technical information, courts generally afford more protection to it

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     than to ordinary business information.”); Safe Flight Instrument Corp. v. Sundstrand Data

     Control Inc., 682 F. Supp. 20, 22 (D. Del. 1988) (collecting cases) (“Courts dress technical

     information with a heavy cloak of judicial protection because of the threat of serious economic

     injury to the discloser of scientific information.”). “Indeed, in cases involving the disclosure of

     trade secrets, courts often issue protective orders limiting access to the most sensitive

     information to counsel and their experts.” Tailored Lighting, 236 F.R.D. at 148.

             In U.S Steel, the Federal Circuit clarified that the relevant determination for denial of

     access under a protective order is “[w]hether an unacceptable opportunity for inadvertent

     disclosure exists.” U.S. Steel Corp. v. United States, 730 F.2d 1465, 1468 (Fed.Cir.1984). This

     determination often turns on the extent to which the person to whom the information is disclosed

     is involved in “competitive decision-making” with the client. Id. “Thus, courts have routinely

     allowed disclosure of confidential information to in-house counsel and experts, upon the premise

     that those individuals are segregated from the competitive day-to-day business decisions of the

     company.” McAirlaids, 2014 WL 904717 at *2 (citing U.S. Steel, 730 F.2d at 1468; Ross-Hi me

     Designs, Inc. v. United States, 109 Fed. Cl. 725, 743-44 (Fed. Cl. 2013); Safe Flight, 682 F.

     Supp. at 22-23; E.I. du Pont de Nemours & Co. v. Phillips Petroleum Co., 219 U.S.P.Q. 37, 39

     (D.Del.1982)).

             A.         Bruce Barker Should Not Be Allowed to Access Apple’s AEO Material and
                        Voice Domain Should Not be Permitted to Unilaterally Remove this
                        Designation (¶ 9)

                  1.       Bruce Barker Should Not be Allowed Access to Apple’s Highly
                           Confidential Information

                           a.     Bruce Barker is Unquestionably a Competitive Decisionmaker for
                                  Voice Domain And the Risk of Use or Disclosure is Too High

             The Federal Circuit in U.S. Steel, offered the following explanation of the term


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     “competitive decisionmaker”:

                        The parties have referred to involvement in “competitive
                        decisionmaking” as a basis for denial of access. The phrase would
                        appear serviceable as shorthand for a counsel’s activities,
                        association, and relationship with a client that are such as to
                        involve counsel’s advice and participation in any or all of the
                        client’s decisions (pricing, product design, etc.) made in light of
                        similar or corresponding information about a competitor.
     U.S. Steel, 730 F.2d at 1468 n.3. Here, Mr. Barker is unquestionably a competitive

     decisionmaker for Voice Domain, because as Voice Domain itself admits, Mr. Barker and Voice

     Domain are synonymous. Motion at 3, 16. As such, Mr. Barker makes any and all of Voice

     Domain’s competitive business decisions.

             Voice Domain goes to great lengths to argue that it is not a competitor with Apple and

     therefore there is no risk of harm, making Apple’s proposed protections unwarranted. Motion at

     1, 10-12. However, this argument is simply unsupported by fact and law and disregards the fact

     that, as a patent inventor and prosecutor, access to highly confidential Apple documents creates

     an unacceptable risk to Apple’s business. “[C]ourts have not limited the category of competitive

     decision makers to only those people who work for entities that make or sell competing

     products.” Microsoft Corp. v. CSIRO, No. 6:06-cv-549, 2009 WL 440608, at *2 (E.D. Tex. Feb.

     23, 2009); see also ST Sales Tech Holdings, LLC v. Daimler Chrysler Co., No. 6:07-cv-346,

     2008 WL 5634214, at *6 (E.D. Tex. Mar. 14, 2008) (“Plaintiff and Defendants all seek to utilize

     in one manner or another, intellectual property as part of a business model for pecuniary gain.”);

     IP Innovation L.L.C. v. Thomson, Inc., 1:03-CV-0216-JDT-TAB, 2004 WL 771233, at *3 (S.D.

     Ind. Apr. 8, 2004); Tailored Lighting, 236 F.R.D. at 149 (“I note that TLI has not cited, nor has

     this Court found, any cases to suggest that the disclosure of proprietary information to an

     opposing patent inventor would be appropriate merely because the parties were not currently


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     direct competitors, particularly where, as here, the inventor licenses the patent to a direct

     competitor.”); Northbrook Digital, LLC v. Vendio Services, Inc., 625 F. Supp. 2d 728, 760 (D.

     Minn. 2008) (“Involvement in a party’s licensing activity, therefore, implicates competitive

     decisionmaking.”). Rather, even where parties are not “traditional competitors in the market

     place,” an individual may still be deemed a competitive decisionmaker, where, as here, the

     parties are in an “adversarial” posture and the individual receiving the highly confidential

     information would be “especially situated to take positions that are directly harmful and

     antagonistic to [Defendant].” See Microsoft Corp, 2009 WL 440608, at *2.

             Here, Bruce Barker is “especially situated to take positions that are directly harmful and

     antagonistic” to Apple because of several of the different hats he wears at Voice Domain. First,

     Mr. Barker’s role in licensing and litigating of Voice Domain’s patents presents a high risk of

     inadvertent disclosure. Apple’s information could be used by Mr. Barker to aid Voice Domain

     in determining what kinds of patents to prosecute or acquire, which companies to sue in future

     litigation, and the price of licenses or litigation settlements. Courts have denied disclosure based

     on this concern. See Ex. 7 (Trs. of Boston Univ. v. Everlight Elecs. Co., Ltd., 12-cv-11935-PBS,

     Dkt. 636 (D. Mass. July 8, 2014)) at 7 (denying disclosure where the Plaintiff continues to

     commercialize the inventions and has licensed the asserted patent to the Defendant’s

     competitors); Prism Technologies, LLC v. AT&T Mobility, LLC, 8:12-cv-126, 2013 WL 100390

     at *4 (D. Neb. Jan. 8, 2013) (denying disclosure where that individual “is ‘actively engaged in

     Prism’s primary business: the management, licensing, and acquisition of technology”); Intel

     Corp. v. Via Techs, Inc., 198 F.R.D. 525, 530 (N.D. Cal. 2000) (denying access to in-house

     counsel where her “involvement in licensing through litigation constitutes competitive

     decisionmaking, because her advice and counsel necessarily affect licensing decisions”); ST


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     Sales, 2008 WL 5634214, at *2 (finding that “counsel to numerous related patent licensing

     companies—none of which made or sold any products—was a competitive decision maker to

     defendants, who were all in the automotive industry”); Affymetrix, Inc. v. Illumina, Inc., No. Civ.

     A. 04-901-JJF, 2005 WL 1801683 at *2 (D. Del. July 28, 2005) (involvement in settling patent

     litigation and licensing “crosses over into the competitive-decision making”).

             Further, there is also a high risk of inadvertent misuse because Bruce Barker has

     prosecuted multiple patents related to the accused technology, and continues to invent, prosecute

     and obtain patents from the PTO. Although Voice Domain claims that Mr. Barker does not have

     any pending patents related to the accused technology in this case, it is clear that Mr. Barker is

     continuing to invent and prosecute patents derived from his electrical engineering technical

     background and education. Voice Domain has accused all Apple devices that include Siri, thus

     covering the Apple’s iPhone, iPad and iPod Touch. Dkt. 1 at ¶ 10. These devices include many

     different trade secrets that incorporate electrical engineering technology, not just those related to

     the accused technology. Courts have recognized the high risk of inadvertent use of highly

     confidential information if disclosed to inventors, engineers and scientists. See Ex. 7 (Trs. of

     Boston Univ.) at 7-8 (“Although the Court does not question Dr. Moustakas’ intentions, it

     “nonetheless question[s] his human ability during future years of research to separate the

     applications he has extrapolated from [Defendants’] documents from those he develops from his

     own ideas.”); Safe Flight, 682 F. Supp. at 22 (“First, accepting that Mr. Greene is a man of great

     moral fiber, we nonetheless question his human ability during future years of research to separate

     the applications he has extrapolated from Sundstrand’s documents from those he develops from

     his own ideas.”); Tailored Lighting, 236 F.R.D. at 149 (“it seems unreasonable that anyone

     working to further his own scientific and technological interests would be able assuredly to avoid


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    even the subconscious use of confidential information revealed through discovery that is relevant

    to those interests”); IP Innovation, 2004 WL 771233, at *3.

             As such, the risk of inadvertent disclosure or use is high and the potential injury to Apple

    is great. A protective order should protect against even a small risk of inadvertent disclosure or

    use where the damage that would be caused by inadvertent disclosure is not insignificant. Intel

    Corp., 198 F.R.D. at 531 (citing Brown Bag Software v. Symantec Corp., 960 F.2d 1465, 1470

    (9th Cir.1992)). “Even a seemingly insignificant risk of disclosure cannot be ignored due to the

    threat of significant potential injury.” Id.

                         b.      Voice Domain Will Not be Prejudiced By Apple’s Proposed
                                 Protective Order

             The only justification Voice Domain offers for allowing Mr. Barker this broad access to

    Apple’s highly confidential information is that it would allow Voice Domain to “make sound

    litigation decisions,” and Voice Domain’s counsel could “effectively advise its client,” “consult

    with the inventor about a variety of technical and non-technical issues and arguments,” and

    “prepare their case effectively.” Motion at 16-17. Voice Domain also argues that Mr. Barker

    has specialized knowledge because he is the inventor of the patent-in-suit. Id. at 2 (“he is the

    inventor of the ’883 patent and uniquely positioned to evaluate infringement and other technical

    issues and arguments that Apple may raise in the case”). None of Voice Domain’s reasons

    justify disclosure of Apple’s highly confidential information to Mr. Barker and numerous courts

    have rejected similar arguments before. Ex. 7, (Trs. of Boston Univ.); McAirlaids, 2014 WL

    904717, at *1-*4; Prism Technologies, 2013 WL 100390; Tailored Lighting, 236 F.R.D. 146;

    Safe Flight, 682 F. Supp. 20; IP Innovation, 2004 WL 771233; Vardon Golf Co., Inc. v. BBMG

    Golf, Ltd., 91 C 0349, 1991 WL 222258 (N.D. Ill. Oct. 24, 1991).



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             For example, in a recent order, a court in this District denied disclosure of the defendants’

    information designated as “Outside Counsel Only” to the inventor of the patents-in-suit and

    employee of the plaintiff, noting that “Courts have generally denied an employee-inventor access

    to highly confidential materials of their adversary.” Ex. 7 (Trs. of Boston Univ.) at 6. The

    plaintiff in that case made justifications similar to those made by Voice Domain, based on

    specialized knowledge in the field. Id. The Court, however, found that the risk of hardship to

    the plaintiff did not outweigh the risk of inadvertent disclosure of the defendants’ confidential

    information:

             BU argues that it would suffer severe harm if the Court grants the Defendants’
             motion because there is no substitute for the testimony of Dr. Moustakas, “whose
             knowledge of the subject field and work in this area has been influential for
             decades.” The hardship to BU hinges on whether Dr. Moustakas has such unique
             knowledge that, without his ability to see Defendants’ Outside Counsel Only
             materials, BU will be unable to prosecute this case. While this Court is persuaded
             that Dr. Moustakas has specialized knowledge about the patented technology, the
             Court is not persuaded that BU will be unable to effectively prosecute this case if
             the Court grants the Defendants’ motion. First, the Court notes that Dr.
             Moustakas may review the discovery in this case, including confidential material
             that has not been designated Outside Counsel Only. In addition, BU has not
             shown that it will be unable to obtain the assistance it needs from a different
             expert.

    Id. at 8.

             Other courts in different districts have also denied disclosure to an inventor/employee

    based on similar reasoning. See Safe Flight, 682 F. Supp. at 21-22 (Court denied disclosure to

    the president, noting that “plaintiff’s claim that [the president] is ‘uniquely qualified’ is

    speculative. Safe Flight has yet to investigate the availability of qualified outside experts.”);

    Tailored Lighting, 236 F.R.D. at 147 (having initiated litigation, plaintiff cannot rely on

    significant expense which accompanies an independent expert to justify disclosure of Sylvania

    trade secrets to TLI’s chief patent inventor; burden of that cost simply does not outweigh the

    substantial risk of competitive injury that attends disclosure of such trade secret information);
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     Vardon, 1991 WL 222258 at *2 (disclosure of confidential materials to sole owner, president,

     engineer and employee, as well as its patent attorney and trial counsel “presents a problem.

     Since Vardon and Allen are virtually one and the same, it would be impossible for Allen to

     review confidential materials without the materials being exposed to Vardon’s president and

     engineer.”)

             Thus, because Mr. Barker is a competitive decisionmaker for Voice Domain, disclosure

     of Apple’s highly confidential information to him poses an unacceptably high risk of inadvertent

     disclosure or improper use of this information. Voice Domain has not shown that it would suffer

     any prejudice that outweighs the risk of harm to Apple posed by this possibility of disclosure or

     use. As such, Voice Domain’s proposed protective orders that allow this disclosure should not

     be entered.

                   2.    Mock Jurors Should Not be Allowed Access to AEO Material

             Voice Domain should not be permitted to unilaterally eliminate the previously agreed-to

     restriction on mock jurors’ access to material designated as AEO. It appears that the elimination

     of this protection may simply be the result of Voice Domain attempting to allow Mr. Barker

     access to material that would normally be designated as AEO. However, even if this was just

     mere oversight by Voice Domain, it does not change the result that mock jurors may now have

     unfettered and unnecessary access to Apple’s highly confidential information. It is Apple’s

     position that giving such material to mock jurors is not only unnecessary, as in many instances

     the information is summarized and argued during a mock trial without giving mock jurors access

     to the highly confidential information itself, but it also presents a high risk of disclosure of

     Apple’s information as Apple is unable to have any control or foresight over who Voice Domain

     might choose for a mock jury.


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             B.         The Prosecution Bar Should Prohibit Those Who Access AEO Information
                        or SOURCE CODE from Drafting or Amending Claims (¶ 6(b))

                  1.       The Prosecution Bar Should Apply to Material Designated as AEO, Not
                           Just SOURCE CODE

             The Federal Circuit in In re Deutsche Bank recognized that an attorney in possession of

     an adversary’s confidential information may be barred from representing clients in certain

     matters before the PTO due to the high risk of inadvertent disclosure and misuse of that

     information. In re Deutsche Bank, 605 F.3d at 1380-81. That case focused on whether litigation

     counsel’s involvement in patent prosecution activities, would rise to the level of “competitive

     decisionmaking.” Id. at 1380. The court reasoned that the risk of inadvertent disclosure of

     competitive information learned during litigation is much greater for those attorneys who have

     “the opportunity to control the content of patent applications and the direction and scope of

     protection sought in those applications.” Id. Some examples of specific involvement that rise to

     the level of competitive decisionmaking are an attorney’s ability to amend and/or draft claims,

     “making strategic decisions on the type and scope of patent protection that might be available or

     worth pursuing,” or “strategically amending or surrendering claim scope during prosecution.”

     Id. at 1380-81.

             Voice Domain acknowledges this risk by agreeing that the prosecution bar should apply

     to source code. However, the prosecution bar should also apply to materials beyond source code

     for these same reasons. Often, the technical details of how a product works are disclosed in

     documents like schematics, data sheets, specifications, flow charts, artwork, or formulas, rather

     than or in addition to source code. Indeed, per the Court’s scheduling order, Apple is required to

     produce its documents sufficient to show the operation of the accused products (not simply

     source code). Further, Voice Domain offers no reason why it would suffer any harm if the


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     prosecution bar applied to technical documents designated as AEO as well as SOURCE CODE.

     As such, the Court should adopt Apple’s protective order, where the prosecution bar applies as

     equally to these documents as it does to source code.

                  2.     The Bar Should Apply to Drafting and Amending Claims in Post-Grant
                         Proceedings

             The same concerns the Federal Circuit recognized in In re Deutsche Bank regarding

     inadvertent disclosure and the misuse of confidential information in PTO proceedings apply

     equally to post-grant proceedings where claims are drafted or amended. Voice Domain argues

     that these concerns are not present in a post-grant proceeding “because patent claims can only be

     narrowed in a post-grant proceeding, and that they are so amended to address the prior art cited

     in that proceeding (not to cover existing products).” Motion at 8. While post-grant proceedings

     provide fewer opportunities to present new claims, “the fact remains that claims may still be

     restructured in these proceedings in a way that would undoubtedly benefit from access to an

     alleged infringer’s proprietary information.” Ex. 8 (Grobler v. Apple Inc., 12-cv-1534, Dkt. 57

     (N.D. Cal. May 7, 2013)) at 3; see also Shared Memory Graphics, LLC v. Apple Inc., 2010 WL

     4704420, at *3 (N.D. Cal. Nov. 12, 2010) (“Claims may still be restructured in reexamination,

     and, in a given case, a patent owner may well choose to restructure claims in a manner informed

     by the alleged infringer’s confidential information gleaned from litigation.”); Ex. 9 (Prilotec Inc.

     v. Scentair Techs., Inc., No. 12-cv-483, Dkt. 62 (E.D. Wis. May 17, 2013) (finding that “[t]he

     inter partes proceeding affords opportunities to amend the claims that are more flexible than

     implied” in responding to Plaintiff’s argument that “there is only a ‘minor opportunity to amend’

     the claims”)) at 7; Ex. 10 (Telebuyer, LLC v. Amazon.com, Inc., No. 13-cv-1677, Dkt. 118 (W.D.

     Wash. July 7, 2014) (“[A] newer line of cases recognizes that even in a reexamination

     proceeding, a patent owner can use confidential information to restructure or amend its claims so

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     as to improve its litigation position against alleged infringers.”)) at 10.

             Further, many courts when faced with this issue allow litigation counsel to participate in

     a post-grant proceeding, but restrict counsel’s ability to draft or amend claims—exactly as Apple

     originally proposed. See Ex. 11 (Ariosa Diagnostics, Inc. v. Sequenom, Inc., 11-cv-6391-SI,

     Dkt. 199 (N.D. Cal. June 11, 2013) (“[L]itigation counsel may not participate in any IPR

     activities that will affect the scope of the claims, including without limitation ‘drafting,

     amending, or advising on the scope or maintenance of the patent claims or shaping the scope of

     any amended or added claim during the Review.’”)); Ex. 8 (Grobler) (“Things might be different

     if counsel had free rein in the PTO proceedings. But under Grobler’s proposal, litigation counsel

     is prohibited from assisting in any crafting or amendment of patent claims.”) at 3; EPL Holdings,

     LLC v. Apple Inc., 12-cv-04306 JST JSC, 2013 WL 2181584, at *3-4 (N.D. Cal. May 20, 2013)

     (“The Court concludes that EPL’s litigation counsel, as with the litigation counsel in Grobler,

     may participate in third-party initiated review proceedings so long as counsel is prohibited from

     assisting in any crafting or amendment of patent claims.”). Only after Voice Domain rejected

     Apple’s original proposal and complained that it was unilateral and unfair did Apple propose

     barring both parties’ counsel from participating in post-grant proceedings. Now, Voice Domain

     complains that it would be unfair to deny Voice Domain’s counsel the ability to participate at all.

     On the contrary, both of Apple’s proposals are fair to Voice Domain, as they are as least

     restrictive as possible and reciprocal, while still protecting Apple’s highly confidential

     information.

             C.         Apple’s Proposals Concerning Expert Discovery Provide Clarity (¶ 20)

             Apple’s proposals concerning the scope of expert discovery forestall future confusion

     amongst the parties by clearly setting forth what will and will not be disclosed during the course

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     of expert discovery. There has been tremendous variation in the interpretation of Rule 26.

     Accordingly, Apple’s proposals seek to circumvent future confusion and unnecessary motion

     practice by identifying each party’s disclosure obligations early on in the litigation, which are

     clearly in line with the scope and purpose of Rule 26. Using Voice Domain’s own example

     regarding disclosure of information “considered” and “relied upon” by experts, courts have

     routinely noted the inherent danger with crediting the subjective representations of an expert

     when determining what the expert “considered” in preparing his expert report under Rule 26.

     See, e.g., United States v. Dish Network, L.L.C., 297 F.R.D. 589 (C.D. Ill. 2013).6 Accordingly,

     Apple’s proposals provide clarity by specifically identifying the scope of permissible expert

     discovery as what the expert “actually relied upon.”

                Rather than come to an agreement regarding any permissible scope of expert discovery

     with Apple, Voice Domain instead claims it cannot agree to any of Apple’s proposals, and relies

     on proposed hypotheticals and conjecture of potential litigation gamesmanship in support of its

     arguments. Apple’s proposals are narrowly tailored to ensure fair and efficient discovery, and

     should be adopted.

                D.         The Court Should Not Enter Voice Domain’s Interim Protective Order

                Voice Domain requests that the Court enter an interim protective order, in order to

     6
       As yet another example regarding various interpretations of Rule 26, the distinction between an
     expert’s notes and a draft report is often not clear, as Fed. R. Civ. P. 26(b)(4)(B) merely “protects
     drafts of any report or disclosure.” Courts across jurisdictions have taken various approaches on
     these issues. See Dongguk University v. Yale Univ., 2011 WL 1935865, *1 (D. Conn. May 19,
     2011) (compelling production of a testifying expert’s notes because they were neither drafts of
     an expert report nor communications between the party’s attorney and the expert witness) contra
     Int’ls Aloe Science Council, Inc. v. Fruit of the Earth, Inc., 2012 WL 1900536, *2 (D. Md. May
     23, 2012) (notes were protected as attorney work product). Accordingly, Apple’s proposed
     language (e.g., “draft reports, notes, or outlines for draft reports developed and drafted by the
     testifying expert and/or his or her staff are also exempt from discovery.”) avoids potential
     confusion amongst the parties by explicitly providing for the scope of permissible discovery.

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     “lessen the risk of harm to the parties’ carefully negotiated litigation schedule and order that

     would otherwise result from Apple withholding documents from its August 11, 2014, non-

     infringement contentions.” Motion at 10. The Court should deny this request for several

     reasons. First, Voice Domain’s interim protective order is exactly the same as its final proposed

     protective order. Ex. 12 (comparison document of Voice Domain’s interim and final protective

     orders). As such, it is inadequate to protect Apple’s highly confidential information, and the

     technical documents due to be produced on August 11, 2014, for the same reasons discussed

     above. Voice Domain represents that “Mr. Barker will not review or have access to any

     documents or other discovery produced by Apple until the Court resolves the disputed

     paragraphs.” Id. One must wonder, however, why Voice Domain would not include this

     provision in its proposed interim protective order so that it could be ordered by the Court instead

     of just a representation by Voice Domain’s outside counsel.

              Second, Voice Domain’s argument that if an interim protective order is not entered, the

     case schedule will suffer harm, is also unfounded. Voice Domain asked for—and Apple agreed

     to— an expedited schedule for claim construction, with the remainder of discovery stayed.

     Although the parties agreed to exchange the local rule infringement and invalidity/non-

     infringement contentions and accompanying document productions, Voice Domain does not

     need Apple’s technical document production in order to participate in claim construction. Vita-

     Mix Corp. v. Basic Holding, Inc., 581 F.3d 1317, 1324 (Fed. Cir. 2009) (“Claims are properly

     construed without the objective of capturing or excluding the accused device.”); SRI Int'l v.

     Matsushita Elec. Corp. of Am., 775 F.2d 1107, 1118 (Fed.Cir.1985) (en banc) (“A claim is

     construed in the light of the claim language, the other claims, the prior art, the prosecution

     history, and the specification, not in light of the accused device.”) (emphasis in original).


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     Further, the scheduling order entered in this case provides that Apple will not produce its

     technical documents until a protective order is entered, a provision Voice Domain agreed to

     knowing full well Apple’s positions on the protective order. Apple has not delayed in attempting

     to resolve the protective order disputes, as evidenced by the fact that Apple sent Voice Domain

     its proposed protective order the very same day a scheduling conference was set in this case. Ex.

     13 (April 13, 2014, email from Apple). On the other hand, it was Voice Domain that did not

     respond to Apple until May 9th, three weeks later. Ex. 14 (May 9, 2014, email from Voice

     Domain). It is ironic that Voice Domain now accuses Apple of delay and gamesmanship.

     IV.     CONCLUSION

             For the reasons set forth above, the Court should enter Apple’s proposed protective order,

     attached hereto as Exhibit 1, and reject Voice Domain’s proposed final protective order and

     proposed interim protective order.




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                                      CERTIFICATE OF SERVICE

             I hereby certify that this document filed through the ECF system will be sent

     electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)

     and paper copies will be sent to those indicated as non-registered participants on July 17, 2014.

                                                                          /s/Nicholas G. Papastavros
                                                                          Nicholas G. Papastavros




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